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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

HILLSBOROUGH COUNTY AVIATION
AUTHORITY, a Florida independent special district,

Plaintiff, CASE NO.

v.
State Court Case No. 19-CA-002677

TURO INC., a Delaware Corporation, and
multiple unknown JANE and JOHN DOE

Defendants.

DEFENDANT TURO INC.’S NOTICE OF REMOVAL

Defendant Turo Inc. (“Turo”), by and through its attorneys of record, hereby files
this Notice of Removal in the above-captioned matter, currently pending in the Circuit
Court of the Thirteenth Judicial District in and for Hillsborough County, Florida. This
removal is made pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441, and 1446. Removal is
proper because this action (1) presents diversity of citizenship and an aggregate amount
in controversy that exceeds $75,000, and (2) invokes federal question jurisdiction. For
the reasons set forth below, this Court has jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1332, and 1367.!

 

' Turo reserves its right to challenge this Court’s exercise of personal jurisdiction over
Turo, as Turo is not a citizen of Florida and lacks minimum contacts with Florida.
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BACKGROUND

1. On or about March 13, 2019, Hillsborough County Aviation Authority
(‘Plaintiff’) filed a Complaint in the Circuit Court of the Thirteenth Judicial Circuit in
and for Hillsborough County, Florida, entitled Hillsborough County Aviation Authority v.
Turo Inc., et al., No. 19-CA-002677 (the “Complaint’”). Plaintiff served the Complaint
on Turo on March 22, 2019. A copy of the Complaint is attached hereto as Exhibit A.

2. Plaintiff alleges it is an independent special district existing under Chapter
2012-234, Laws of Florida, which grants Plaintiff exclusive jurisdiction, control,
supervision and management over all public airports in Hillsborough County, Florida,
including the Tampa International Airport (“Tampa Airport”). (See Ex. A { 4.)

3. Turo is a web-based platform that allows car owners and car users to connect
with each other and coordinate peer-to-peer car sharing, The Complaint alleges that Turo
and Doe Defendants violate various state laws and federal regulations by delivering or
picking up vehicles at Tampa Airport curbsides without an off-airport permit. (See id.
{i 67-70, 116-165.)

4. Plaintiff alleges that it is a recipient of grants and funding from the Federal
Aviation Administration (“FAA”), and Plaintiff imposes rules and regulations that govern
traffic, parking, and business operations on its Tampa Airport property in compliance
with its federal grant obligations, FAA regulations, and federal law. (See id. {§[ 14, 16-
17, 72-71, 90, 106, 110-111, 120, 125.) Plaintiff further alleges, inter alia, that Turo’s
activities jeopardize Tampa Airport’s federal funding. (See id. J 110-111.) Plaintiff

asserts causes of action for violation of airport regulations, trespass, civil conspiracy,
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aiding and abetting trespass, unjust enrichment, and for an accounting. (See id. Jf 115-
165.) Plaintiff seeks preliminary and permanent injunctive relief, monetary damages,
costs, and pre-judgment interest. (See id..)

5. On March 25, 2019, Plaintiff filed a Motion for Temporary Injunction, and
Turo received service on March 29, 2019. Turo has not yet answered or responded to the
Complaint or the Motion for Temporary Injunction in the Circuit Court of the Thirteenth
Judicial Circuit in and for Hillsborough County, Florida. Turo is not aware of any other
pending motions or briefs.

6. Pursuant to 28 U.S.C. § 1446(a), true and legible copies of all other papers on
file with the state court and not previously referenced are attached to this Notice of
Removal as Exhibits B-G.

7. Pursuant to 28 U.S.C. § 1446(d), Turo will file and serve written notice of the
removal of this case with the Clerk of the Thirteenth Judicial Circuit in Hillsborough
County, Florida and on Plaintiff’s counsel. Turo will serve Plaintiff with this Notice of
Removal and all documents filed in support thereof on the date of filing this Notice of
Removal.

8. Nothing in this Notice of Removal shall constitute a waiver of Turo’s right to
assert any defense, including motions pursuant to Federal Rule of Civil Procedure 12, as
the case progresses.

9. If the Court considers a remand, Turo requests the Court to issue an order to
show cause why the case should not be remanded, giving the parties the opportunity to

present briefing and argument prior to any remand. This procedure is appropriate
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because pursuant to 28 U.S.C. § 1447(d), a remand order is not subject to appellate
review.
VENUE

10. Venue is proper under 28 U.S.C. § 1441(a) because this Court is the United
States District Court for the district and division embracing the location where the state
court case was pending.

REMOVAL IS TIMELY

11. The Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b). Plaintiff
filed its Complaint on March 13, 2019, and served the Complaint on Turo on March 22,
2019. (See Ex. A.) Turo filed this Notice of Removal within thirty (30) days of service,
as required by law. See, e.g., Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526
U.S. 344, 347-48 (1999),

JURISDICTION PURSUANT TO 28 U.S.C. § 1332(a)

12. This Court has original jurisdiction over this action pursuant to 28 U.S.C.
§ 1332(a), and the action is removable to this Court pursuant to 28 U.S.C. §§ 1441(b) and
1446(c)(2)(B).

13. An action filed in state court is removable to federal district court if: (1) the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
costs, and (2) is between citizens of different states. 28 U.S.C. § 1332(a)(1). These
requirements are satisfied here.

14. Plaintiff alleges it is an independent special district with exclusive

jurisdiction, control, supervision and management over Tampa Airport and all other
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public airports in Hillsborough County. (See Ex. A {4.) Plaintiff is a citizen of Florida
for purposes of diversity jurisdiction.

15. Turo is a Delaware corporation with offices in San Francisco, California, and
it is not registered in the State of Florida. (See id. 5.) Turo is a citizen of Delaware and
California, but is not a citizen of Florida.

16. Plaintiff also names Doe Defendants who allegedly reside and do business in
Florida (see id. { 7), but the citizenship of defendants sued under fictitious names is
disregarded when determining if an action is removable on the basis of diversity
jurisdiction. See 28 U.S.C. § 1441(b)(1).

17. Because Plaintiff is a citizen of Florida and Turo is not a citizen of Florida,
the parties are diverse.

18. As to the amount in controversy, Plaintiff alleges only that it makes a claim
“in excess of $15,000.00 exclusive of interest and costs.” (Ex. AJ 1.) However, Plaintiff
alleges that Turo is a rental car company and should pay the following fees and charges
as a rental car company in order to operate at the airport: (a) a privilege fee of 8.5% gross
receipts from October 1, 2016 to February 13, 2018, and a privilege fee of 9% gross
receipts beginning on February 14, 2018; (b) a transportation facility charge of $2 per day
for car bookings; (c) a fee of $2.50 per trip during the first year of the permit, $3.50 per
trip during the second year of the permit, and $4.50 per trip during the third year of the
permit. (/d. J§[ 94-100.) Plaintiff seeks payment of these fees and charges, as well as

injunctive relief. (/d. Jf 115-165.)
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19. While Turo does not accept Plaintiff’s allegations and disputes every form of
relief sought, the amount in controversy exceeds $75,000 based on the allegations of the
Complaint. Plaintiff alleges that Turo has violated its regulations and has been
trespassing on its property since at least April 2017. (See id. { 68.) Since April 2017,
Turo users have booked several thousand carsharing transactions at or near Tampa
Airport and Turo has received over one million dollars in gross receipts. Under -
Plaintiff’s theory, Turo would be required to pay per-trip and transaction fees amounting
to $4.50 to $6.50 for each of those several thousand trips, plus a fee of 8.5% to 9.0% on
over one million dollars in gross receipts. The gross receipts fees alone satisfy the
amount in controversy.

20. Moreover, when a plaintiff seeks injunctive relief, as Plaintiff does here, the
“amount in controversy is the monetary value of the object of the litigation from the
plaintiff’s perspective.” Fastcase, Inc. v. Lawriter, LLC, 907 F.3d 1335, 1342 (11th Cir.
2018). Plaintiff claims that injunctive relief is necessary to, among other things, stop
Turo’s actions that allegedly “‘jeopardize[] the Airport’s federal funding[.]” (Ex. A {
110.) On information and belief, Plaintiff receives millions of dollars in federal funding
each year. As a result, the amount in controversy exceeds $75,000 in light of Plaintiff’s
allegations in the Complaint and by the allegations Turo raises in this Notice. See 28
U.S.C. § 1446(c)(2)(B); Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct.
547, 554 (2014) (“[A] defendant’s notice of removal need include only a plausible
allegation that the amount in controversy exceeds the jurisdictional threshold.”); see also

Seguros Commercial America v. Hall, 115 F. Supp. 2d 1371, 1376-77 (M.D. Fla. 2000)
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(holding that an action should not be dismissed for failure to satisfy the amount-in-
controversy requirement “unless it appears to a ‘legal certainty’ that plaintiff’s claim is

actually for less than the jurisdictional amount”).

JURISDICTION PURSUANT TO 28 U.S.C. § 1331

21. This Court has original jurisdiction over this action pursuant to 28 U.S.C.
§ 1331, and the action is removable to this Court pursuant to 28 U.S.C. §§ 1441(a) and
1367.

22. 28 U.S.C. § 1331 grants district courts “original jurisdiction of all civil
actions arising under the Constitution, laws, or treaties of the United States.” A state law
cause of action “arises under” federal law when it necessarily raises a disputed and
substantial federal issue. Gunn v. Minton, 568 U.S. 251, 257 (2013).

23. Plaintiff relies on federal statutes and regulations to bring its
claims. Plaintiff’s Complaint invokes 49 U.S.C. §§ 47101 et seq., which Plaintiff alleges
authorizes the Federal Aviation Administration (“FAA”) to pass regulations concerning
safety and security, and the regulation of ground operations, at airports. (Ex. A {f[ 72-
74.) Plaintiff further alleges that FAA regulations authorize and mandate that Plaintiff
create the regulations that Turo allegedly violates. (/d. J§| 75-77.) Each of Plaintiff's
claims necessarily raise these federal law issues, although Turo strongly disputes that it
has violated any federal law or regulation, or valid airport regulation arising from, or
mandated by, FAA regulations. Turo further disputes that Plaintiff is authorized by
federal law to misclassify Turo as a rental car company and enforce its regulations in the

manner alleged in the Complaint.
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24. Given this Court’s jurisdiction pursuant to 28 U.S.C. § 1331, this action is
removable pursuant to 28 U.S.C. § 1441(a), which provides that, “[e]xcept as otherwise
expressly provided by Act of Congress, any civil action brought in a State court of which
the district courts of the United States have original jurisdiction, may be removed by the
defendant or the defendants, to the district court of the United States for the district and
division embracing the place where such action is pending.”

25. Supplemental jurisdiction also exists over the state and common-law claims
Plaintiff asserts for violation of airport regulations, trespass, aiding and abetting trespass,
civil conspiracy, unjust enrichment, and an accounting of revenues because these claims
are so related to the federal claims described above that they form the same case or
controversy. See 28 U.S.C. § 1367(a).

CONCLUSION

26. Pursuant to 28 U.S.C. 8§ 1331, 1332, 1367, 1441, and 1446, Turo
respectfully requests that this action proceed before this Court as an action properly
removed. This Notice of Removal is signed pursuant to Federal Rule of Civil Procedure

11.

Dated this 31st day of March, 2019.

 

Hala A. Sandridge — Trial Counsel
Florida Bar No. 454362

BUCHANAN INGERSOLL & ROONEY
PC

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 31, 2019, a true and accurate copy of the
foregoing has been furnished through the E-Filing Portal to:

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Orlando FL, 32814

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Attorneys for Hillsborough County Aviation Authority

/s/
Hala Sandridge
Florida Bar Number: 454362

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EXHIBIT A
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IN THE CIRCUIT COURT OF THE
THIRTEENTH JUDICIAL CIRCUIT, IN
AND FOR HILLSBOROUGH COUNTY,
FLORIDA

HILLSBOROUGH COUNTY AVIATION
AUTHORITY, a Florida independent special district

Plaintiff,
v. CASE NO.

TURO INC., a Delaware Corporation,
and multiple unknown JANE and JOHN DOE

Defendants.
/
VERIFIED COMPLAINT

Plaintiff, the HILLSBOROUGH COUNTY AVIATION AUTHORITY (‘Aviation
Authority”), by and through its undersigned attorneys, sues the Defendants, TURO INC.
(“Turo”), a Delaware corporation, and multiple unknown JANE and JOHN DOE (collectively
the ‘‘Turo Operators”) and states:

JURISDICTION, PARTIES, AND VENUE

1. This is an action for injunctive relief and monetary damages in which the amount
in controversy is in excess of $15,000.00 exclusive of interest and costs, an amount within the
jurisdiction of this Court by virtue of Section 26.012, Fla. Stat. (2018).

2. The Court has jurisdiction over this action, which seeks temporary and permanent

injunctions to preclude Defendants’ continued trespass, damages and an accounting resulting

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from Defendants’ unauthorized commercial ground transportation activity at Tampa
International Airport.

3, Turo is subject to the jurisdiction of this Court because it operates, engages in
and/or carries on a business or business venture in the State of Florida (the “‘State”) and because
it committed tortious acts within this State pursuant to Section 48.193, Fla. Stat. (2018).

4, The Aviation Authority is an independent special district validly existing under
Chapter 2012-234, Laws of Florida, as amended (the “Act”), which grants the Aviation
Authority the exclusive jurisdiction, control, supervision and management over all public
airports in Hillsborough County, Florida (the “County’”), including the Tampa International
Airport.

5. Defendant, Turo Inc., is a Delaware corporation, with an address of 116 New
Montgomery Street, Suite 700, San Francisco, California 94105, that is not registered to do
business in the State of Florida. Turo operates a web-based rental car enterprise that collects car
rental and related fees from Florida car rental customers, for cars owned by Turo agents,
including the Jane and Joe Co-Defendants, which Turo rents through Turo’s app and website to
car rental customers who are solicited and identified by Turo.

6. Turo is currently and has at all material times engaged in business in Hillsborough
County, Florida, in concert with, as an agent, and affiliate of multiple unknown Jane and John
Doe Co-Defendants herein, to arrange for and collect the car rental fees for car rental deliveries
and pickups of its Jane and John Doe Co-Defendant agents’ rental cars at the Tampa

International Airport.

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7. The multiple unknown Jane and John Doe Defendants are all unknown Turo
agents and affiliates who reside in Hillsborough and neighboring counties, and who have
engaged in business in Hillsborough County, Florida with Turo, by delivering and/or picking up
rental cars to Turo customers, or conducting other unauthorized commercial ground
transportation activities on Tampa International Airport property in exchange for Turo providing
rental car advertising, customers and paying Jane and John Doe Co-Defendants a portion of the
car rental and related fees collected by Turo through its app and website.

8. Venue is proper in Hillsborough County, Florida, pursuant to Section 47.051, Fla.
Stat. (2018), because multiple Defendants reside in Hillsborough County, Florida, all Defendants
do business in Hillsborough County, Florida, and all. of the causes of action alleged herein
accrued in Hillsborough County, Florida.

9, The Aviation Authority has retained the undersigned counsel to prosecute this
action against the Defendants.

10. All conditions precedent to the filing of this action have occurred, been satisfied
or have been waived.

BACKGROUND ALLEGATIONS

11. The Aviation Authority operates the Tampa Internationa] Airport (hereinafter
teferred to interchangeably as the “Airport” or “TPA”) in Tampa, Hillsborough County, Florida,
pursuant to authority delegated to it by the State.

12. Pursuant to the Act, the Aviation Authority “shall manage airport facilities and
grant airport concessions to further the development of commerce and tourism in or affecting the

Tampa Bay area and the [s]tate.” 2012 Fla. Laws 234.
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13. In managing its facilities and granting concessions for services to the public, the
Aviation Authority shall promote the development of commerce and tourism by, among other
things, “[l]imiting or prohibiting business competition which is destructive to the ends of
promoting commerce and tourism in the state.” /d.

14. ‘The Aviation Authority is also the Airport sponsor, as a recipient of financial
funding for airport development from the Federal Aviation Administration (the “FAA”) under
the Airport Improvement Program, authorized by the Airport and Airway Improvement Act of
1982, as amended, 49 USC § 47101, et seq.

15. TPA is an international airport that is, based on passenger traffic, the 4” busiest
airport in the State, the 29" busiest airport in the United States, and the 111" busiest airport in
the world.

16. Given the number of individuals who use TPA’s roadways and facilities, the
Aviation Authority must strictly regulate traffic, parking and business operations on its property
to ensure public safety and convenience, to enhance efficiency and productivity at TPA, and to
comply with its federal grant obligations.

17. For this reason, the Aviation Authority, through its Rules and Regulations No.
R340 for Tampa International Airport (2017) (the “Rules and Regulations”), Aviation Authority
Policy P310: Commercial Ground Transportation (the “Commercial Ground Transportation
Policy”), and Aviation Authority Policy P822: Off-Airport Rental Car Companies (the “Off-
Airport Rental Car Policy’) (collectively referred to herein as the “Regulations”), imposes
restrictions on individuals and entities that bring vehicles onto Airport property for commercial

purposes, including requiring that such individuals and entities obtain a contract or permit, pay
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fees, and comply with designated traffic routes and parking requirements, which have all been
violated by the Defendants.

18. Congestion is a particularly serious problem at TPA, given that tens of thousands
of vehicles traverse the Airport’s roadways and park on Airport property on a daily basis.

19. The Aviation Authority has attempted to address Airport congestion by opening a
Rental Car Center away from the Airport Main Terminal with a dedicated curbside for off-airport
rental car companies and by requiring these off-airport rental car companies to pick-up/drop-off
customers at the Rental Car Center curbside.

20, The Aviation Authority monitors and enforces these restrictions through its
contract terms and permit requirements.

21. By requiring that off-airport rental car companies conduct pick-ups and drop-offs
in areas other than the Main Terminal curbsides, the Aviation Authority significantly reduces
congestion at the Airport Main Terminal for arriving and departing air travelers.

22. The Airport receives no local tax dollars.

23. Rental car fees are a major source of income for the Airport.

24. The Aviation Authority generates significant operating revenue from sources such
as rental cars, parking, commercial ground transportation and other user fees, which constituted
approximately 46% of TPA’s operating budget in Fiscal Year 2017-2018.

25. There are two types of rental car companies that operate at TPA, each of which is

subject to a consistent set of contract/permit and fee requirements.

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26. “On-airport” rental car companies obtain a concession through a competitive
procurement process to lease physical space on Airport property for the convenience of their
customers.

27. Other companies, called “off-airport” rental car companies, maintain facilities
outside Airport property but access Airport travelers and are granted the use of certain designated
Airport roadways and operating areas to pick up and drop off their customers.

28. ~ The Aviation Authority imposes the same basic contract/permit terms and fees on
all “on-airport” rental car companies that operate at TPA.

29, The Aviation Authority imposes the same basic contract/permit terms and fees on
all “off-airport” rental car companies that operate at TPA.

30. This consistent regime preserves fair competition and ensures that individuals and
entities that derive commercial benefit from TPA’s facilities pay their fair share of maintaining
those facilities.

31. In Fiscal Year 2017-2018, there were eleven rental car companies (representing
eighteen rental car brands) that operated at TPA pursuant to valid permits/contracts and paid the
applicable fees.

32. Collectively, those eleven companies paid approximately $43,870,922 in fees to
operate at TPA in Fiscal Year 2017-2018,

33, Defendant, Turo is a web-based rental car enterprise that rents cars owned by
Turo affiliates to the car rental customers who are solicited and billed by Turo.

34.  Turo posts available rental cars on its website and mobile application (“app”),

provides tailored search functions for prospective renters, receives rental car requests, processes
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reservations and payments, and retains a percentage of the proceeds from each rental car
transaction (usually 25%, depending on the insurance coverage selected),

35.  Turo’s website, available at https://turo.com, describes its business as a
competitor of “traditional” rental car companies and repeatedly uses phrases like “way better

than a rental car,” “skip the rental counter” and “not your typical car rental”:

Not your typical car rental

Bypass the rental counter and rent better cars from real people

 

36. In competing with “traditional” rental car companies, Turo claims two

distinguishing advantages: lower cost and the convenience of vehicle delivery.

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37. | Turo’s homepage advertises that customers can “bypass the rental counter” and
“pick up your rental or get it delivered, wherever you need it, up to 35% less than traditional

agencies”:

Way better than a rental car

Bypass the rental counter and book unforgettable cars trom friendly locals

TT CAB YQU WYANT YATE WOE WANT AP
Choose from aver 800 unique makes and Pick up the car or get (t delivered, wherever
models from affordable daily drivers to rare you need it. up to 35% Jess (nan traditional
specialty cars. agencies,

Book the perfact car

38. While Turo does not own its Co-Defendants’ vehicles that Turo rents to the
public, Turo nonetheless offers a full-service rental car experience comparable to that offered by
“traditional” rental car companies.

39.  Turo tells prospective renters on its website, “[w]e’ll be here for you every step of
the way during your trip,” and promises insurance coverage, “24/7 roadside assistance” and “24-
hour customer support.”

40. Turo also touts its thorough safety and screening procedures, claiming on its
website that “[y]our safety is a top priority.” Turo’s “Trust and safety” page tells prospective
renters, “YOU’RE PROTECTED. Each car on Turo must meet our rigorous eligibility standards

for safety, condition, and operations.”

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41. For its Co-Defendant agents and affiliate car owners, the “Trust and safety” page
has a similar message: “YOU’RE SAFE. We screen each traveler, so you can be confident when
you hand over your keys.”

42.  Turo’s car owners, agents and renters are required to register, reserve the rental
cars, and pay Turo on the Turo website or app.

43. In addition to screening renters, Turo offers car owners a variety of other
supportive services, including free professional photography for vehicles and a pricing algorithm
designed to maximize profits.

44. Automobile owners who desire to have Turo rent their cars have an option of
setting the daily rental rate or using Turo’s automatic pricing option, which sets the car rental
price based on market values, location, time of year, and other data used by Turo.

45. At the time the reservation is made on the Turo website or app, Turo charges the
car renter full cost for the car rental transaction by billing the renter’s credit card on file in the
renter’s account on the Turo website or app.

46. Turo pays its Co-Defendants their portion of the Turo car rentals by direct
deposit, initiated by Turo 30 minutes after the rental ends, or if a rental is for more than a week,
Turo remits its Co-Defendants’ rental car payment at the end of each week.

47. Consistent with the comprehensive car rental services it offers, Turo carries or
enforces a number of standardized umbrella policies that cover all Turo rental transactions.

48. Turo has detailed “Terms of Service,” a cancellation policy, an extension and late

return policy, a minimum rental duration, a late fee schedule, a smoking policy, a pet policy, a

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fuel policy, a toll policy, a security deposit policy, a street parking policy, a nondiscrimination
policy, and community guidelines on the Turo website and app.

49. Turo also has a policy governing the removal of copyrighted material from car
listings and reserves the right to modify listings on the app and website at its discretion.

50. Turo’s Co-Defendant car owner agents must comply with Turo’s many policies or
risk termination from Turo.

51. Indeed, Turo reserves the right to remove car owners or listings from the app and
website for any reason or no reason.

52. In the event that a vehicle is not returned by the end of the reservation, is found
illegally parked, apparently abandoned, or used in violation of applicable law or Turo’s Terms of
Service, Turo has the option to repossess the vehicle.

53. In sum, the Turo and its Co-Defendants’ rental car experience is standardized and
controlled by Turo down to the small details.

54. Airport car rentals constitute part of Turo’s business model and advertising.

55. On Turo’s “How Turo works” page, airport rental car delivery is one of three

options provided for Turo and its Co-Defendants’ to rent cars using Turo’s app and website:

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Car delivery

Imagine the feeling travelers will get when you drop off your car curbside, or pull up
in front of a restaurant downtown. Once you greet them and hand over your keys,

they'll never want to go back to an agency counter again.

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Owners deliver to custom locations Owners deliver lo nearby airparts BCC) Ue dol ae] el Mota L a UChr a)

around town, within a set radius location

eae eR Ue he Offer delivery

 

56. In multiple places on its website, Turo affirmatively advertises as an “alternative
to airport car rentals” and promotes that Turo’s agents deliver rental cars to customers at over

300 airports, including TPA.

Why Turo?
CHOICE © VALUE) ACCESSIBILTLY

Choose trom hundreds of unique cars Book the car you want - up to 35% Jess Book a car from home or on the go,
tor every occasion and every budget than traditional agencies whenever and wherever you want it

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57.  Turo also emphasizes on its “Owners tools” page that, “One thing that really
distinguishes Turo from traditional rental car agencies is the unparalleled convenience of
delivery.”

58. In addition to the promotional language on its website, Turo structures its website
functions and default options to facilitate car rental transactions at TPA.

59. For instance, Turo aggregates listings that offer TPA car rental pickups and drop-
offs under a single easily searchable tab called “TPA — Tampa International Airport, Tampa,
FL.”

60. | When prospective car renters in Tampa click the search box on Turo’s homepage
to input their desired location, a dropdown menu pre-populated by Turo lists “TPA — Tampa
International Airport” as one of the suggested locations.

61. Similarly, Turo promotes its airport delivery option to car renters on its “Tampa”
page, which lists “TPA -— Tampa International Airport, Tampa, FL” as one of the suggested
search options for nearby car rental locations, advises renters to “[s]kip the rental counter” and

provides a “search TPA” button.

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AIRPORT PICKUP AVAILABLE,

Skip the rental counter

   
 

BE Utey Ml unelS (eer Nis rode Sarasote-Bradenton International Airport

Search SRO

62. | When a prospective car renter selects the suggested search option for “TPA —
Tampa International Airport, Tampa, FL”, he or she is directed to a long list of cars available for
rent displayed under the words “Skip the rental counter. 198 cars at TPA — Tampa International
Airport, Tampa, FL”. Many of those 198 listings expressly offer delivery to TPA.

63.  Turo further explains the logistics of airport delivery of its advertised car rentals
on the page called: “How does airport delivery work?”

64. On that page, Turo notes that its Co-Defendant car owner agents and renters often
meet at “the departures curb” or an airport “cellphone lot.” °

65. Another option, Turo suggests, is for the car owner to leave the rental car in an
airport parking lot “with a key in a lockbox.”

66. On its website, Turo advertises “car rental alternatives near Tampa International

Airport” and provides reviews by previous renters dating back to December 31, 2017 describing

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their experiences engaging in rental car transactions through Turo and the Jane and John Doe
Co-Defendants at the Airport.

67. Neither Turo nor any Co-Defendants have obtained a contract or permit as
required by the Aviation Authority to conduct commercial rental car or any other commercial
ground transportation activities on Airport property, and accordingly both Turo and its Co-
Defendants have violated the Aviation Authority’s Regulations.

68. On April 28, 2017, September 18, 2018 and January 9, 2019, the Aviation
Authority sent a cease and desist letter to Turo advising that Turo was violating the Aviation
Authority’s Regulations and was therefore trespassing, a copy of which cease and desist letters
are attached hereto as Exhibit “A”.

69. On at least eight occasions between December 3, 2018 and December 5, 2018,
Defendants engaged in rental car transactions on Airport property using the Turo website or app.

70. Of the eight occasions, three (3) involved Turo Operators delivering or picking up
rental vehicles curbside at the Airport Main Terminal; two (2) involved Turo Operators
delivering and picking up rental vehicles to the Airport passenger in the Short Term Parking
Garage; and three (3) involved a parked rental vehicle that was picked-up and returned to the
Economy Parking Garage at the Airport, all without a permit or contract with the Aviation
Authority, in multiple violations of the Aviation Authority’s Regulations.

71. As set forth herein, the following Regulations provide the framework for required
contracts or permits and permissible commercial rental car activities that apply to the

Defendants’ unauthorized commercial ground transportation operations at the Airport.

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THE REQUIREMENTS OF THE AVIATION AUTHORITY’S REGULATIONS

72. As arecipient of federal funding, the Aviation Authority is obligated to comply
with its federal grant assurances and related Federal law, 49 USC § 47107.

73. Responsibility for monitoring and ensuring airport sponsor compliance with
applicable federal obligations is vested in the Secretary of Transportation by 49 USC § 47107
and delegated to the FAA. See 49 USC § 47122.

74. The FAA is authorized to promulgate regulations and issue orders necessary to
catry out its obligations under the Federal Aviation Act and the Airport and Airway
Improvement Act of 1982. See 49 U.S.C. § 40113(a).

75. FAA Order 5190.6B, Airport Compliance Manual (hereinafter the “FAA’s
Compliance Manual”), sets forth the policies and procedures for the FAA Airport Compliance
Program, which “ensures airport sponsors’ compliance with their federal obligations in the form
of grant assurances, surplus and nonsurplus obligations, or other applicable federal law.” See
FAA Order 5190.6B, coversheet.

76. Grant Assurance 19, Operation and Maintenance, requires “the airport and all
facilities which are necessary to serve the aeronautical users of the airport. . .shall be operated at
all times in a safe and serviceable condition. . . as may be required or prescribed by applicable
Federal, state and local agencies for maintenance and operation.” See Airport Sponsor
Assurances (2014).

77. To comply with its operation and maintenance requirements, the sponsor is
required “to protect the public using the airport by adopting and enforcing rules, regulations and

ordinances as necessary to ensure safe and efficient flight operations” and “to maintain and
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operate the aeronautical facilities and common-use areas for the benefit of the public.” See FAA
Order 5190.6B, Section 7.8.

78. In addition, the State granted the Aviation Authority the power, pursuant to
Section 6 of the Act, to “[a]dopt and amend rules, regulations, and policies that are reasonably
necessary to implement [the] Act,” to “[f]ix, alter, charge, establish, and collect rates, fees,
rentals and other charges...for the services of [Aviation] Authority facilities at reasonable and
uniform rates,” and to “fix and enforce penalties for the violation of the Act or a rule, regulation,
or policy adopted in accordance with the Act.” See 2012 Fla. Laws 234.

79. Pursuant to the authority granted by the State and to comply with its federal grant
obligations, the Aviation Authority adopted the Regulations, which establish a framework for the
permit and contract requirements and permissible commercial ground transportation activities at
the Airport.

80. Pursuant to the Commercial Ground Transportation Policy, the purpose of the
Aviation Authority’s regulation of commercial ground transportation services is to ensure
acceptable standards of service to the public; avoid congestion of Airport roadways, curbsides
and parking areas; ensure appropriate revenue is received by the Authority from those providing
commercial ground transportation services at the Airport; and ensure compliance with the
operating procedures for ground transportation and other applicable Airport Rules and
Regulations. See Commercial Ground Transportation Policy, at 1.

81. The Commercial Ground Transportation Policy requires that “all commercial
ground transportation services regularly serving the [A]irport must show evidence of adequate

liability insurance coverage; must operate under the terms of a current contract or permit with the
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Authority; must park, load and unload passengers only in those areas or locations on the airport
specifically designated for such purposes; and must abide by all operating procedures
specifically established for commercial ground transportation and all other applicable airport
rules and regulations.” See Commercial Ground Transportation Policy, at 2-3.

82. The Aviation Authority’s Rules and Regulations prohibit a person for any
business, commercial, or revenue producing purposes, from conducting any business,
commercial enterprise or activity on Airport property without first obtaining a written contract,
permit or other form of written authorization from the Aviation Authority. §2.2.

83. In addition, the Off-Airport Rental Car Policy states “{aJll off-airport rental car
companies deriving income from business generated at the Airport must enter into an agreement
with the Authority to perform any portion of their business on the Airport.” See Off-Airport
Rental Car Policy, at 1.

84. To control and reduce traffic and parking congestion, the Rules and Regulations
require that “[a]ll Commercial ground transportation operators and Transportation Network
Companies, unless otherwise provided by agreement or permit with the Authority, will only be
allowed to deliver customers to the Airport and to meet pre-reserved customers at the Airport in
places designated by the Authority.” §8.1.

85. The Aviation Authority “will provide appropriate and convenient facilities to
permit the efficient operation of rental cars and other commercial ground transportation
vehicles”, which will be ‘consistent with the operational and physical constraints imposed by the
limited availability of space at the passenger terminal complex and elsewhere.” See Commercial

Ground Transportation Policy, at 2.
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86. In addition, the Aviation Authority “will allocate available vehicle parking,
loading and unloading in the transportation centers, and elsewhere for use by commercial ground
transportation services”, See Commercial Ground Transportation Policy, at 3.

87. The Off-Airport Rental Car Policy further requires “{a]ll of€airport rental car
companies will transport their customers to the Airport and meet their customers at the Airport in
locations designated by the Authority.” See Off-Airport Rental Car Policy, at 2.

88. With regard to fees and charges, the Commercial Ground Transportation Policy
provides that “the Aviation Authority will establish and collect fees and charges from the
operators of airport commercial ground transportation services to ensure that the Authority
generates the appropriate revenue from the provision of these services. In establishing such fees
and charges, the Authority will include the recovery of the costs of constructing the facilities
used by each ground transportation service, and the Authority’s maintenance, operational,
administrative, and enforcement costs associated with such facilities.” See Commercial Ground
Transportation Policy, at 3.

89. The Commercial Ground Transportation Policy fees are important to maintain the
Airport’s improvements and future financial viability.

90. The ground transportation fees are also mandated by federal law, which requires
that the Aviation Authority adopt “a schedule of charges for use of [its] facilities and services”
that renders the Airport “as self-sustaining as possible” as a condition for federal grants. (49
U.S.C. § 47107(a)(13)(A). See also 49 U.S.C. § 47101(a)(13) [articulating federal policy that

airports be as financially self-sustaining as possible].)

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91. 49 U.S.C. 47107(1)(1) requires the establishment of policies and procedures to
"assure the prompt and effective enforcement" of the revenue use and self-sustainability
requirements under 49 U.S.C. § 47107(a)(13)(A) by providing the Secretary of the Department
of Transportation with the statutory authority to adopt more detailed guidance on permitted and
prohibited uses of airport revenue. See 64 FR 7696, 7701,

92. Accordingly, the FAA’s Compliance Manual requires that “{r]ates charged for
nonaeronautical use of the airport must be based on fair market value,” which “can be
determined by reference to negotiated fees charged for similar uses of the [A]irport”. See FAA
Order 5190.6B, 17.11 and 17.12.

93. The Aviation Authority’s Off-Airport Rental Car Policy states that “OffAirport
rental car agreements will establish fees due to the [Aviation] Authority for the right to do
business on the Airport.” See Off-Airport Rental Car Policy, at 1.

94. _ Each off-airport rental car company is required to pay the Aviation Authority a
Transportation Facility Charge, Privilege Fee, and Per-Trip Fees. See Off-Airport Rental Car
Policy, at 1-2.

95. Pursuant to the Aviation Authority Resolution No. 2014-37, all off-airport rental
car companies are required to pay the Aviation Authority a Transportation Facility Charge in the
amount of $2.00 per rental transaction day (i.e. each 24-hour period), effective beginning on
April 1, 2014.

96. The Aviation Authority “may also charge a privilege fee representative of the
special benefit a particular class of business derives from the airport and its use thereof.” See

Commercial Ground Transportation Policy, at 3.
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97. The Privilege Fee is “a set percentage of the gross receipts received by the off-
airport rental car company from Airport generated business.” See Off-Airport Rental Car Policy,
at 1.

98. Each off-airport rental car company was required to pay Privilege Fees in the
amount of 8.5% of gross receipts from October 1, 2016 to February 13, 2018, and 9% of gross
receipts beginning February 14, 2018. See Use and Permit Agreement for Off-Airport Rental Car
Concessions, Section 5,01.

99. In addition, an off-airport rental car operator is assessed Per-Trip Fees for each
time its vehicles enter the Airport property and pick-up one or more Airport customers. See Use
and Permit Agreement for Off-Airport Rental Car Concessions, Section 2.05.

100. Each off-airport rental car company will pay a Per Trip Fee of $2.50 per trip
during the first year of an operator’s agreement, $3.50 per trip during the second year of the
agreement, and $4.50 per trip during the third year of the agreement. See Use and Permit
Agreement for Off-Airport Rental Car Concessions, Section 5.04, effective beginning on August
1, 2017.

DEFENDANTS’ COMMERCIAL GROUND TRANSPORTATION OPERATIONS
UNDERMINE THE LEGITIMATE PUBLIC INTEREST
PURPOSES OF THE REGULATIONS

101. By not obtaining a required contract or permit from the Aviation Authority and
violating the Regulations, Defendants undermine the Aviation Authority’s objective of providing
ground transportation services consistent with public safety.

102. To promote the efficient movement of passengers to and from the Airport, the

Commercial Ground Transportation Policy states that Aviation Authority will provide a system
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where commercial ground transportation operators pick up and drop off passengers at the
Airport.

103. Rental car companies are prohibited from conducting commercial ground
transportation services curbside at the Main Terminal at TPA, in order to provide less congestion
for the primarily non-commercial private vehicles.

104. By funneling commercial ground transportation activity to the Rental Car Center,
Airport Quad Lots, and elsewhere, the Aviation Authority reduces congestion and other adverse:
impacts to the limited curbside space available at the Main Terminal, where passengers need
access to be picked up or dropped off safely by friends and family.

105. Defendants have undermined the efficiencies of the Aviation Authority’s traffic
flow system by conducting their commercial ground transportation operations curbside at the
Main Terminal, in parking garages at the Airport, and in other areas of the Airport where
commercial rental car activity is prohibited, thereby increasing congestion and impairing the
efficient movement of passengers, in violation of the Aviation Authority’s Regulations.

106. The Aviation Authority also seeks to provide fair, respectful competition among
providers of ground transportation services and to comply with the Federal Grant Assurances
requiring it to operate the Airport safely and in a self-sustaining manner, pursuant to Federal law.

107. An objective of the Commercial Ground Transportation Policy is to avoid
“destructive competition which would impair the quality of services to the public or lead to
uncertainty, disruption or instability of commercial ground transportation services at the airport.”

See Commercial Ground Transportation Policy, at 2.

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108. Defendants’ failure to obtain a contract or permit and follow the Aviation
Authority’s Regulations allows Defendants to unfairly undercut the prices of authorized
commercial ground transportation operators, allows Defendants to obtain a non-monetary
competitive advantage by operating at the Airport in areas where other commercial ground
transportation operators that must comply with the Aviation Authority’s Regulations cannot, and
hinders the Aviation Authority’s ability to be self-sustaining and conduct safe and efficient
airport operations. ,

109. Defendants have utilized the passenger parking garages and parking lots on
Airport property to park rental cars for their commercial purposes, which interferes with the
Aviation Authority’s efforts to make adequate parking available for Airport passengers.

110. Defendants’ continued trespasses at the Airport to conduct unauthorized
commercial ground transportation operations on Airport property undermines the objectives of
the Aviation Authority’s Regulations, jeopardizes the Airport’s federal funding by preventing the
Aviation Authority from complying with its federal grant obligations, and gives rise to an
irreparable harm with no adequate remedy at law, which cannot be solely remedied by money
damages.

111. The injury to the Aviation Authority consists of the breakdown of its ground
transportation system, violation of its federal grant obligations, and loss of revenue, which
outweighs any potential harm to the Defendants if they are prohibited from entering Airport
property without first complying with the same operational, fee, and reporting requirements that

apply to all other commercial ground transportation operators at the Airport.

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112. As a result of the Defendants’ failure to comply with the Aviation Authority’s
Regulations, the Aviation Authority lacks the information required to quantify all of Turo and
the Turo Operators’ violations of the Regulations to calculate the resulting damages.

113. Defendants’ continued trespasses to conduct unauthorized commercial ground
transportation operations at the Airport undermines the fair, competitive environment required by
the Regulations, avoids compliance with the safety, traffic and parking regulations established by
the Regulations, and unfairly takes business from authorized commercial ground transportation
operators who are incurring costs to comply with the governing Regulations, thereby reducing
the revenues the Aviation Authority collects and frustrating multiple other non-revenue
objectives of the Aviation Authority’s Regulations.

114, Authorized commercial ground transportation operators may avoid servicing the
Airport if the Defendants are allowed to continue trespassing at the Airport and violating the
Regulation’s operating and fee requirements to obtain these unfair competitive advantages in
violation of the Aviation Authority’s Regulations.

COUNT I- VIOLATION OF THE REGULATIONS AGAINST DEFENDANTS
(Preliminary and Permanent Injunctive Relief)

115. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as set forth more fully herein.

116. The Aviation Authority is empowered to enforce the Regulations in order to
ensure the objective to promote high quality and reasonably priced ground transportation
services, while also maintaining public safety, traffic flow, parking and convenience, to ensure

the efficient movement of passengers to and from the Airport, to foster respectful competition

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among providers of ground transportation services, and to develop revenues for support of the
’ Airport.

117. Defendants have no right to conduct their car rental business at the Airport for
commercial gain in violation of the Aviation Authority’s Regulations, and to hold themselves out
to the public as providing commercial rental car services at the Airport without first complying
with the requirements of the Regulations.

118. Defendants continued unauthorized commercial ground transportation operations
at the Airport undermine the objectives of the Regulations and give rise to an irreparable harm
with no adequate remedy at law, which cannot be entirely remedied by money damages.

119. The public interest would be served by preliminary and permanent injunctive
relief prohibiting Defendants from conducting unauthorized commercial ground transportation
operations at TPA until such time as they comply with the requirements of the Regulations.

120. The potential harm to Defendants from the issuance of preliminary and permanent
injunctive relief is outweighed by the public interest and the Aviation Authority’s duty to meet
the objectives of Ch. 2012-234, Laws of Florida, the Rules and Regulations, the Commercial
Ground Transportation Policy, and other State and Federal regulations through its enforcement
of the Regulations.

121. Wherefore, the Hillsborough County Aviation Authority demands judgment in its
favor in which the Court grants it preliminary and permanent injunctive relief (a) enjoining
Defendants and/or anyone acting or purporting to act on their behalf or in concert with them
from entering upon Airport property to conduct unauthorized commercial ground transportation

operations; and (b) enjoining Turo from offering, contracting with or charging anyone to rent any
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car for delivery or pick-up at TPA on the Turo app or website until such time as Defendants
comply with the provisions of the Regulations.
COUNT II-TRESPASS AGAINST DEFENDANTS
(Action for Injunctive Relief and Damages)

122. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as set forth more fully herein.

123. Turo, by directing and acting in concert with its agents, the Turo Operators, has
committed trespasses at the Airport by conducting unauthorized commercial ground
transportation operations at the Airport, in violation of the Regulations.

124. Defendants’ trespasses by conducting unauthorized commercial ground
transportation operations have damaged the Aviation Authority by thwarting both non-monetary
and monetary objectives of the Regulations.

125. Defendants’ trespasses by conducting unauthorized commercial ground
transportation operations at the Airport undermine the objectives of Ch. 2012-234, Laws of
Florida, the Aviation Authority’s Regulations, and other State and Federal regulations, and give
rise to an irreparable harm with no adequate remedy at law, which cannot be solely remedied by
money damages.

126. The public interest would be served by preliminary and permanent injunctive
relief prohibiting Defendants from conducting unauthorized commercial ground transportation

operations without complying with the provisions of the Regulations.

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127. The potential harm to Defendants from the issuance of preliminary and permanent
injunctive relief is outweighed by the public interest and the Aviation Authority’s duty to meet
the objectives of the Regulations.

128. Asa result of Defendants’ violations of the Regulations while trespassing on the
Airport, the Aviation Authority has suffered damages from the loss of revenue it would have
otherwise received from the ground transportation services being provided by authorized rental
car operators, as well as the non-monetary damages alleged herein.

129. For each Defendants’ rental car and passenger ground transportation transactions,
the Aviation Authority did not receive the Transportation Facility Charge of $2.00 per rental
transaction day, Privilege Fees based on the applicable percentage of off-airport rental car
operator’s gross receipts, and the Per Trip Fees in the amount of $2.50 for the first year Turo
operated at the Airport, $3.50 for the second year, and $4.50 for the third year.

130. As a result of Defendants’ failure to comply with the requirements under the
Aviation Authority’s Regulations, the Aviation Authority lacks the information required to
quantify all of the Defendants’ violations of the Regulations to calculate the resulting damages.

131. Wherefore, the Hillsborough County Aviation Authority demands judgment in its

_ favor and against Defendants in which the Court grants it preliminary and permanent injunctive
relief and damages as follows: (a) enjoining Defendants and/or anyone else acting or purporting
to act on their behalf or in concert with them from entering upon the Airport property to conduct
unauthorized commercial ground transportation operations; (b) enjoining Turo from offering,

contracting with or charging anyone to rent any car for delivery or pick-up at TPA on the Turo

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app and website; and (c) awarding damages, costs, pre-judgment interest and any other and
further relief as the Court deems just and equitable.

COUNT III-CIVIL CONSPIRACY AGAINST DEFENDANTS
(Action for Damages)

132. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as though set forth more fully herein.

133. This is an action for civil conspiracy against Turo and the Turo Operators.

134. Turo and the Turo Operators agreed with each other and acted in concert to enter
Airport property to deliver, park and pick up rental cars and passengers at the Airport for
compensation in violation of the Regulations and to conduct unauthorized commercial ground
transportation operations.

135. Defendants have been advised that their actions were violating the Aviation
Authority's Regulations.

136, The Defendants, in concert with another, engaged in the following overt acts.

137. The Defendants conducted unauthorized commercial ground transportation
operations at TPA for their pecuniary benefit and financial gain.

138. Turo, through its agents, the Turo Operators, directed Airport passengers who
used the Turo website or app to engage in rental car transactions on Airport property with the
Turo Operators notwithstanding Turo's actual knowledge that such unauthorized commercial
ground transportation operations were in violation of the Aviation Authority’s Regulations.

139. The Aviation Authority has been damaged as a result of the Defendants’ actions.

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140. Wherefore, the Hillsborough County Aviation Authority demands judgment in its
favor and against Defendants for damages, costs, pre-judgment interest and any other and further

relief as is deemed just and equitable.

COUNT IV-AIDING AND ABETTING TRESPASS AGAINST TURO
(Action for Injunctive Relief and Damages)

141. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as though set forth more fully herein.

142, This is an action for aiding and abetting a trespass against Turo.

143. Turo, at all material times, was and is aware of the prohibitions against
unauthorized commercial ground transportation operations at the Airport.

144. Turo, at all material times, was and is aware the Regulations require that everyone
that conducts commercial ground transportation operations at the Airport must comply with the
Aviation Authority’s Regulations.

145. Turo, by creating and operating its Turo app and website, aided and abetted the
Turo Operators in trespassing on Airport property to conduct unauthorized commercial ground
transportation operations.

146. Turo aided and abetted the trespass by the Turo Operators by facilitating the
rental car transactions on Airport property with Airport passengers who used the Turo website or
app to obtain rental cars at the Airport from Turo through the Turo Operators, notwithstanding
Turo's actual knowledge that such rental car transactions were unauthorized commercial ground

transportation operations that violated the Regulations.

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147. Turo benefitted financially from the violations of the Regulations and trespasses
by the Turo Operators, which Turo aided and abetted by collecting the car rental fees generated
by Defendants’ unauthorized trespasses.

148. As a result of Turo’s actions, the Aviation Authority has suffered monetary and
non-monetary damages.

149. As aresult of Turo's violations of the Regulations, while aiding and abetting the
Turo Operators' trespasses at the Airport, the Aviation Authority has suffered damage from the
loss of revenue it would have otherwise received from the commercial ground transportation
services being provided by authorized commercial ground transportation operators.

150. Turo's aiding and abetting the Turo Operators' unauthorized commercial ground
transportation operations have also damaged the Aviation Authority by thwarting the non-
monetary objectives of the Regulations.

151. Turo's aiding and abetting the Turo Operators' continued trespasses by conducting
unauthorized commercial ground transportation operations at the Airport undermines the
objectives of the Regulations and gives rise to an irreparable harm with no adequate remedy at
law, which cannot be solely remedied by money damages.

152. The public interest would be served by preliminary and permanent injunctive
relief prohibiting Turo from aiding and abetting the Turo Operators' continued unauthorized
commercial ground transportation operations at the Airport without complying with the

requirements of the Regulations.

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153. The potential harm to Turo from the issuance of preliminary and permanent
injunctive relief is outweighed by the public interest and the Aviation Authority's duty to meet
the objective of the Regulations.

154. Wherefore, the Hillsborough Aviation Authority demands judgment in its favor
and against Turo in which the Court grants preliminary and permanent injunctive relief and
damages as follows: (a) enjoining Turo and/or anyone acting or purporting to act on its behalf or
in concert with it from entering upon the Airport property to conduct unauthorized commercial
ground transportation operations; (b) enjoining Turo from offering, contracting with or charging
anyone to rent any car for delivery or pick-up at TPA on the Turo app and website; and (c)
awarding damages, costs, pre-judgment interest and any other and further relief as the Court
deems just and appropriate.

COUNT V-UNJUST ENRICHMENT AGAINST TURO
(Action for Damages)

155. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as though set forth more fully herein.

156. This is an action for unjust enrichment against Turo.

157. Turo has accepted, retained, and/or enjoyed the benefit of conducting
unauthorized commercial ground transportation operations under circumstances that make it
inequitable and unjust for the Turo to do so without paying the Aviation Authority for the value
of such benefits.

158. As a result of Turo’s failure to obtain a contract or permit and comply with the

Aviation Authority’s Regulations, the Aviation Authority lacks the information required to
30

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quantify all of Turo’s unauthorized commercial ground transportation operations at the Airport in
violation of the Regulations to calculate the resulting fair market value of the damages.

159, Turo has failed to pay the Aviation Authority the Transportation Facility Charges,
Pre-Trip Fees, and Privilege Fees, which establish the market value of the benefits that Turo has
obtained but not paid for.

160. For all Turo rental transactions that have occurred since Turo began operations at
the Airport, the Aviation Authority did not receive the Transportation Facility Charge of $2.00
per rental transaction day, Privilege Fees based on the applicable percentage of off-airport rental
car operator’s gross receipts, and the Per Trip Fees in the amount of the $2.50 for the first year
Turo operated at the Airport, $3.50 for the second year, and $4.50 for the third year, which are
the reasonable market value of utilizing the Airport’s property for commercial ground
transportation activities,

161. Wherefore, the Hillsborough County Aviation Authority demands judgment in its
favor and against Turo for damages, costs, pre-judgment interest, and any other and further relief
as is deemed just and equitable.

COUNT VI-ACCOUNTING AGAINST DEFENDANTS

162. The Aviation Authority reincorporates the allegations contained in paragraphs 1
through 114 as though set forth more fully herein.

163. This is an action for an accounting with respect to the revenues earned by the
Defendants and the additional fees that they owe the Aviation Authority with respect to the

unauthorized commercial ground transportation operations conducted at the Airport.

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164. Asa result of the Defendants’ violations of the Regulations while trespassing on
Airport property, the Aviation Authority has suffered damages from the loss of revenue it would
have otherwise received from the commercial ground transportation services provided by the
Defendants,

165. Because the Defendants have failed to comply with the Regulations by engaging
in commercial ground transportation operations without the required contract or permit from the
Aviation Authority, the amount of damages are uncertain and the Aviation Authority is entitled
to an accounting from Turo and the Turo Operators to determine the number of trips, the rental
cat revenue from Airport operations, the number of Turo vehicles that have trespassed on the
Airport, and the ground transportation revenues owed to the Aviation Authority resulting
therefrom.

Wherefore, the Hillsborough County Aviation Authority demands judgment in its favor
and against the Defendants in which the Court orders an accounting from Turo identifying all
Jane and John Doe Defendants who have violated the Regulations by engaging in unauthorized
commercial ground transportation operations at TPA, listing their Airport pickups, drop-offs, and
revenues to determine the appropriate fees that the Defendants should have paid) the
Hillsborough County Aviation Authority pursuant to the Regulations, and for any other and

further relief as is deemed just and appropriate.

Dated this 13th day of March , 2019.

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/s/ Keith A. Graham

Keith A. Graham

Florida Bar No. 0705314
Marchena and Graham, P.A.

976 Lake Baldwin Lane, Suite 101
Orlando, Florida 32814
Telephone No.: (407) 658-8566
Facsimile No.: (407) 281-8564

 

Attomey for Hillsborough County
Aviation Authority

33

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VERIFICATION
The undersigned, David Scott Knight, being over 18 years only and of sound mind, based on his

personal knowledge obtained as the Aviation Authority’s Assistant General Counsel, verifies that

p

By: David Scott Knight
Title: Assistant General Counsel
Hillsborough County Aviation Authority

the preceding allegations are true and accurate.

STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

The foregoing instrument was acknowledged before me this ex day of March, 2019
by David Segtt kn sgh’ as Assi stant General Co for, Hillsborough County Aviation Authority,

who is personally known to me or who has produced as identification.

Print¢d Name:
Notdry Public gt ANETM WOOD

My Commission Expires: *  ¢ EXPIRES: March 28,2021
opps Bonded Thru Budget Notary Serviogs

34

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EXHIBIT “A”

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Peter O. Knight Airport
Plant City Airport
Tampa Executive Airport

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Hillsborough County
Aviation Authority Mr. Andre Haddad
P.O, Box 22287 Chief Executive Officer
Tampa, Florida 33622 Turo, Inc.

phone/ 813-870-8700 667 Mission Street

fe -875-
axl B13-B75-6670 an Francisco, CA 94105
TampaAirport.com

Dear Mr. Haddad:

it has been observed by staff of the Hillsborough County Aviation Authority (Authority),
as well as other third parties, that Turo, Iric. (Turo) is operating at Tampa International
Airport (Airport). Furthermore, a search of Turo’s website (www.turo.com) shows that
Turo makes specific reference to delivering rental vehicles. to customers at the Airport

curbsides (see attached screen shot).

The Authority has specific requirements for commercial vehicle operations. Currently,
Turo does not have any permits or agreements with the Authority allowing for
commercial vehicle operations at the Airport. All commercial vehicle operations by
Turo or Turo representatives/drivers must comply with the Authority's

requirements.

This letter serves as official notice that Turo and Turo representatives/drivers must
immediately cease and desist operations at the Airport until such time as Turo
reaches an agreement or acquires a permit from the Authority allowing commercial
vehicle operations by Turo and Turo representatives/drivers. This also includes
immediately removing all references regarding operations at the Airport from Turo’s

website.

Authority staff is available to meet with Turo and discuss the specific requirements
needed to operate at the Airport. Inthe interim, attached is a copy of the Airport's
Ground Transportation Operating Procedures (GTOPS) Manual which outlines the
policies and procedures for commercial ground transportation operations at the

Airport.

Joseph W. Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chairman | Commissioner Victor D. Crist, Secretary
Brig. General Chip Diehl, Treasurer { Mayor Bob Buckhorn, Assistant Secretary / Assistant Treasurer

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Bx ATES .
If you have any questions, please call me at (813) 554-1447,

Sincerely,

GH. Lo .
ee LM —

7 Laurie Noyes
Vice President of Airport Concessions

cc: Karl Martin, Senior Manager, Parking and Ground Transportation
Chief Paul Sireci, Tampa International Airport Police Department
David Scott Knight, Assistant General Counsel!

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Peter O, Knight Aiport
Plant City Airport

Tampa Execulive Airport

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SNE LS September 18, 2018 VIA CERTIFIED 7018 0040 0000 0502 2843

Hillsborough County
Aviation Authority
P.O. Box 22287

Tampa, Florida 33622 Ms. Michelle Fang

phone/ 813-870-8700 General Counsel
fax! 813-875-6670
Turo, Ine.

TampaAlrpart.com _.
667 Mission Street

4" Floor
San Francisco, CA 94105

Dear Ms. Fang:

On April 28, 2017, the Hillsborough County Aviation Authority (Authority) issued Turo, Inc. (Turo)
official notice (see attached) that Turo and Turo representatives/drivers must immediately cease
and desist operations at Tampa International Airport (Airport) until such time as Turo reaches an
agreement or acquires a permit from the Authority allowing commercial vehicle operations by Turo

and Turo representatives/drivers.

Despite several meetings last year and a recent procurement effort over the last several months,
negotiations between the Authority and Turo have failed to result in an operating agreement with
Turo at the Airport. Additionally, Turo has not received a permit from the Authority for commercial

vehicle operations.

This letter serves as a second official notice that Turo and Turo representatives/drivers must
immediately cease and desist operations at the Airport. This includes immediately removing all
references regarding the Airport and/or operations at the Airport from all of Turo’s electronic

platforms and websites.

The Authority has specific requirements for commercial vehicle operations at the Airport, including -
the requirement to have a current operating agreement or permit. As of the date of this letter,
should Authority staff observe Turo and/or Turo representatives/drivers illegally operating

anywhere on Airport property, the Authority will take all available and necessary steps to enforce its
Policies, Standard Procedures, Rules and Regulations, and Operating Directives relating to
commercial vehicle operations and concessions at the Airport, including issuance of trespassing

Joseph W. Lapano, Chief Executive Officer | Robert 1. Watkins, Chairman [ Gary W. Harrod, Vice Chairman | Commissioner Victor D. Crist, Secretary
Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Assistant Secretary / Assistant Treasurer

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warnings and citations. The Authority also reserves the right to exercise all remedies available to it

at law or in equity.

Authority staff is available to meet should Turo wish to resume discussions regarding operating at

the Airport.

lf you have any questions, please call me at (813) 801-6055,

    

  

vid Scott Knight
Assistant General Counsel’

cc: Michael Stephens, General Counsel
John Tiliacos, Executive Vice President, Operations and Customer Service
Laurie Noyes, Vice President, Airport Concessions
Charlie Vazquez, Chief, Tampa International Airport Police Department
Lloyd Tillmann, Director of Operations
Gina Evans, Director of Governmental Relations, Communications
Joe! Feldman, C.M., Senior Manager, Airport Concessions
Karl Martin, Senior Manager, Parking and Ground Transportation

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Plant City Airport
Tampa Executive Airport

PELE ET January 9, 2019

Hillsborough County
Aviation Authority Andre Haddad

P., Box 22287 Chief Executive Officer
Tampa, Florida 33622 + Turo Inc,
phone/ 813-870-8700 116 New Montgomery Street, Suite 700
fax/ 813-875-6670 San Francisco, CA 94105
TampaAirport.com ,

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received,reports and determined that
your company, Turo inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercia! Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous cease and desist orders from the
Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December 4, 2018 at 5:00 p.m.

Location: Short Term Parking — roof level
Vehicle Make & Model: Ford Mustang 2018

Vehicle License Plate & State: (FL} HCTN99
Name of vehicle operator/Turo agent: Automix (Derek Norman Jettmar)

ue
John Tiliacos

Executive Vice President of Operations and Customer Service

 

CC: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer { Robert I. Watkins, Chairman | Gary W. Harrod, Vice Chatrman
Commissioner Lesley “Les” Miller, J¢., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst, Secretary / Asst. Treasurer

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Hillsborough County
Aviation Authority Andre Haddad

P.O. Box22287. ~—« Chief Executive Officer
Tampa, Florida 33622 ~—»«-Turo Inc.
phone/ 813-870-8700 116 New Montgomery Street, Suite 700
fax! 813-875-6670 San Francisco, CA 94105
TampaAirport.cam

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa [nternational Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous cease and desist orders from the
Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December 5, 2018 at 1:00 p.m.

Location: Economy Parking Garage; Level 4, Orange, Aisle 11
Vehicle Make & Model: Mercedes Benz Metris van 2016
Vehicle License Plate & State: (FL) JYNE30

Name of vehicle operator/Turo agent: Dane Phillip Lawrence (aka Gourmet Everything)

Regards,

 
  

 

Tiliacos
Executive Vice President of Operations and Customer Service

 

cc: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chaitman
Commissioner Lesley “Les” Miller, Jr., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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viation Authority . ; ,
P.O, Box 22287 Chief Executive Officer
Tampa, Florida 33622 ‘Tura Inc.
phone/ 813-870-8700 116 New Montgomery Street, Suite 700
fax! 813-875-6670 San Francisco, CA 94105
TampaAlrport.com

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous cease and desist orders from the
Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations

continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:
Date & Time: December 3, 2018 at 3:00 p.m.
Location: Economy Parking Garage: Level 4, Orange, Aisle 11

Vehicle Make & Model: Hyundai Elantra 2018
Vehicle License Plate & State: (FL) KQQP47

Name of vehicle operator/Turo agent: Byron Anthony Johnson

 

John Tiliacos
Executive Vice President of Operations and Customer Service

cc: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commissioner Lesley “Les” Miller, Jr., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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Tampa, Florida 33622
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fax/ 813-875-6670
TampaAirport.com

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Plant City Airport
Tampa Executive Airport

January 9, 2019

Andre Haddad

Chief Executive Officer

Turo Inc.

116 New Montgomery Street, Suite 700
San Francisco, CA 94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous cease and desist orders from the
Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport. .

To obtain a use and permit agreement, please contact the Authority's Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December 5, 2018 at 3:00 p.m.

Location: Economy Parking Garage; Level 4,-Orange, Aisle 11
Vehicle Make & Model: Ford Fusion 2016

Vehicle License Plate & State: (FL) HSVS63

Name of vehicle operator/Turo agent: Eriselda Marku

 

John Tiliacos
Executive Vice President of Operations and Customer Service

cc: Michelle Fang, Chief Legal Officer, Turo inc.
Michael Stephens, General Counsel

Joseph W, Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commissioner Lesley “Les” Miller, Jr, Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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fax/ 813-875-6670
TampaAirport.com

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Peter 0. Knight Airport

Plant City Airport
Tampa Executive Airport

January 9, 2019

Andre Haddad

Chief Executive Officer

Turo Inc.

116 New Montgomery Street, Suite 700
San Francisco, CA 94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
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agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this Jetter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December-4, 2018 at 1:00 p.m.

Location: Economy Parking Garage; Level 2, Orange, Aisle 12
Vehicle Make & Model: Ford Mustang 2016

Vehicle License Plate & State: (FL) ITMV83

Name of vehicle operator/Turo agent: Chad Darius McClellan

Regards

ih. tage
John Tiliacos .
Executive Vice President of Operations and Customer Service

  

cc: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |, Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commissioner Lesley “Les” Miller, Jr., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst, Treasurer

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fax! 813-875-6670
TampaAirport.com

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Peter O. Knight Airport
Plant City Airport
Tampa Executive Airport

January 9, 2019

Andre Haddad

Chief Executive Officer

Turo Inc.

116 New Montgomery Street, Suite 700
San Francisco, CA 94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
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agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December-5, 2018 at.5:00 p.m.

Location: Economy Parking Garage; Level 5, Gold Section, Aisle 6
Vehicle Make & Model: Ford Mustang 2017

Vehicle License Plate & State: (FL) 6TXU

Name of vehicle operator/Turo agent: Hunter D. McGaughey

 

Johi' Tiliacos
Executive Vice President of Operations and Customer Service

cc! Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chaiiman
Commissioner Lesley "Les" Miller, Jt., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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viation Authority / .
P.O, Box 22287 Chief Executive Officer
Tampa, Florida 33622 Turo Inc.
phone/ 813-870-8700 116 New Montgomery Street, Suite 700
fax! 813-875-6670 San Francisco, CA 94105
TampaAirport.com

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
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Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
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agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority's Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December 4, 2018 at 3:00 p.m.
Location: Economy Parking Garage; Level 4, Orange, Aisle 11

Vehicle Make & Model: Toyota C-HR 2018
Vehicle License Plate & State: (FL) JTCK97
Name of vehicle operator/Turo agent: Marlon Edward Soley

Re

   

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se Ke
John Tiliacos
Executive Vice President of Operations and Customer Service

cc! Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |, Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commissioner Lesley “Les” Miller, Jr., Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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Sas jinpe
yg International

Airport

Peter O. Knight Airport
Plant City Airport
Tampa Executive Airport

prrpecumemmmer MUEAUTU January 9, 2019

Hillsborough County
Aviation Authority Andre Haddad

P.O, Box 22287 Chief Executive Officer
Tampa, Florida 33622 +“ Turo Inc.
phone/ 813-870-8700 116 New Montgomery Street, Suite 700
fax! 813-875-6670 San Francisco, CA 94105
TampaAirport.com

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous cease and desist orders from the
Authority, similar to all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: December.3, 2018 at 4:30 p.m.

Location: Curbside Arrivals by Spirit

Vehicle Make & Model: Infiniti QX70 2017

Vehicle License Plate & State: (FL) 511YZU

Name of vehicle operator/Turo agent: Brian Christopher Zickafoose

 

John Tiliacos
Executive Vice President of Operations and Customer Service

cc: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Officer | Robert |, Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commissioner Lesley “Les” Miller, Jr,, Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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EXHIBIT B
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FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for

completion.)

 

I. CASE STYLE

IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

 

 

Case No.:
Judge:
Hillsborough County Aviation Authority
Plaintiff
vs.
Turo Inc.
Defendant
I. TYPE OF CASE
O_ Non-homestead residential foreclosure
1 Condominium $250,00 or more
C1] Contracts and indebtedness & Other real property actions $0 - $50,000
g Eminent domain O Other real property actions $50,001 - $249,999
g Auto negligence © Other real property actions $250,000 or more
0 Negligence — other ; ;
O Business governance O _s~Professional malpractice
Ol _siBusiness torts 0 Malpractice — business
QO Environmental/Toxic tort oO Malpractice — medical
Third party indemnification {1 Malpractice — other professional
O Construction defect QO Other
(‘Mass tort O _sAntitrust/Trade Regulation
O_ Negligent security oO Business Transaction
O Nursing home negligence Os Circuit Civil - Not Applicable
Os Premises liability — commercial Oo Constitutional challenge-statute or
Premises liability — residential ordinance
C1 Produets liability © Constitutional challenge-proposed
Ld amendment
& Real Property/Mortgage foreclosure 1 Corporate Trusts
oO Commercial foreclosure $0 - $50,000 Oo Discrimination-employment or other
oO Commercial foreclosure $50,001 - $249,999 dg Insurance claims
C1 Commercial foreclosure $250,000 or more g Intellectual property
O) Homestead residential foreclosure $0 — 50,000 og Libel/Slander
oO goineee residential foreclosure $50,001 - Cl Shareholder derivative action
C1 Homestead residential foreclosure $250,000 or O Securities litigation
more 1 ‘Trade secrets
O1__Non-homestead residential foreclosure $0 - {) Trust litigation
$50,000
UC] Non-homestead residential foreclosure

$50,001 - $249,999

 

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COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes (1 No

ll. | REMEDIES SOUGHT (check all that apply):

& Monetary;
Non-monetary declaratory or injunctive relief;
OO Punitive
IV. NUMBER OF CAUSES OF ACTION: (__)
(Specify)
6
V. IS THIS CASE A CLASS ACTION LAWSUIT?
O) Yes
No
Vi. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
No
OO Yes - If “yes” list all related cases by name, case number and court:

VIL. IS JURY TRIAL DEMANDED IN COMPLAINT?
UO Yes
No

 

| CERTIFY that the information | have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that | have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Keith A Graham FL Bar No.: 705314
Attorney or party (Bar number, if attorney)

Keith A Graham 03/13/2019
(Type or print name) Date

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EXHIBIT C
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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL
CIRCUIT OF THE STATE OF FLORIDA, IN AND FOR HILLSBOROUGH COUNTY

 

 

CIRCUIT CIVIL DIVISION
Hillsborough County Aviation Authority CASE NO:
Plaintiff(s)
VS. DIVISION:

Turo Inc and multiple Jane & John Doe
Defendant(s)

REQUEST FOR ISSUANCE OF SUMMONS -CIRCUIT CIVIL
This is a request for issuance of service of process by the Clerk of court as follows:

*PLEASE NOTE THAT A SEPARATE REQUEST
IS REQUIRED FOR EACH PARTY TO BE SERVED*

 

Type of Process: (choose one)

 

[WV mnitial Summons [alias Summons | |pluries Summons
Type of Summons: (choose one)

 

 

Circuit Court Summons:

Indicate days to respond [V]20 | bo [las [60 | Jother__

Non-Residential Eviction: [_|Mailing | |No Mailing

 

 

 

Residential Eviction - | | 5 day only [| 5 day with 20 day attached
[| Mailing [_ ]No Mailing
Party information:
Party To Be Served:

Name: Turo Inc
Address; 116 New Montgomery Street, Suite 700
City/State/Zip: San Francisco CA 94105

 

Email Address to Return Issued Summons: Kgraham@mgfirm.com

 

 

 

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EXHIBIT D
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IN THE THIRTEENTH JUDICIAL CIRCUIT OF THE
STATE OF FLORIDA, IN AND FOR HILLSBOROUGH COUNTY

 

 

Hillsborough County Aviation Authority, CASE NO.:
a Florida Independent Special District DIVISION:
Plaintiff/Petitioner(s)

VS.

Turo Inc., a Delaware Corporation,

and multiple uknown JANE and JOHN DOE
Defendant/Respondent(s)

REQUEST FOR DIVISION ASSIGNMENT

This is a request based on local Administrative Order(s) for the Clerk of the Court to assign the above styled case in

the:

[ _Jprior Division (Please indicate Case Number and Division of previously filed action:

I understand that the actual division assignment will be in accordance with the Hillsborough County Administrative
Orders. If there is no supported request for specific division assignment, this action will be assigned a division based

on a random and equitable distribution system.

Name of Attorney: Keith A. Graham, Esq.

Address: Marchena & Graham, P.A., 976 Lake
Baldwin Lane, Suite 101, Orlando, FL 32814
407-658-8566

kgraham@mogfirm.com; mcatalano@mgfirm.com

Phone Number:

Email Address(es):

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EXHIBIT EF
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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT OF FLORIDA
IN AND FOR HILLSBOROUGH COUNTY
CIVIL DIVISION

VALUE OF REAL PROPERTY OR MORTGAGE FORECLOSURE CLAIM

The form below has been designed to assist with the calculation requirements of s. 28.241 (2) (a) 2,
regarding mortgage foreclosure graduated filing fees, based on the estimated value of the clalm and
includes the required fees for mediation, education and additional defendants. (See chart below)

 

Date: March 13, 2019 Case Number:
Division:
Plaintiff (s):

Hillsborough County Aviation Authority
a Florida Independent Special District

vs.

Defendant {s):
Turo Inc., a Delaware Corporation,
and multiple uknown JANE and JOHN DOE

a) 0.00 Principal due on the note

-_

a) 0.00 Interested owed on the note

N

3. $0.00 Total advances owed on the note including

5 0.00 Property Taxes
$ 0,00 Insurance
§ 0.00 Other advances
(The total of these three categories provides the amount for line 3.)

4, $0.00 Value of Tax Certificates relating to mortgage

5, $0.00 TOTAL ESTIMATED VALUE OF CLAIM
(Add lines 1-4 to get the total for line 5)

Keith A. Graham, Esq., Attorney for Plaintiff,
Hillsborough County Aviation Authority

(Please Print) Name, Title and Company

Submitter:

© GRADUATED FILING FEES BASED ON THE VALUE OF THE CLAIM
$400 | Value less than or equal to $50,000 with 5 defendants or less
$905 __| Value greater than $50,000 but less than $250,000 with 5 defendants or less

$1,905 | Value $250,000 or greater with 5 defendants or less
52.50 | Additional fee for each defendant over 5

 

 

 

 

 

 

 

 

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EXHIBIT F
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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
CIRCUIT CIVIL DIVISION

Hillsborough County Aviation Authority,

 

 

 

a Florida independent special district Case No.: 19-CA-002677
Plaintiff(s)
VS
Turo Inc., a Delaware Corporation, and
multiple unknown JANE and JOHN DOE Division C
Defendant(s)
SUMMONS

THE STATE OF FLORIDA:
To Each Sheriff of the State:
YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this
action on defendant(s)
Turo Inc.

116 New Montgomery Street
Suite 700
San Francisco CA 94105

Each defendant is required to serve written defenses to the complaint or petition on KEITH ALLEN GRAHAM
plaintiff's attorney, whose address is 976 LAKE BALDWIN LN STE 101 _ORLANDO FL_32814 within 20'
days after service of this summons on that defendant, exclusive of the day of service, and to file the original of the
defenses with the clerk of this court either before service on plaintiff's attorney or immediately thereafter. If a
defendant fails to do so, a default will be entered against that defendant for the relief demanded in the complaint
or petition.

 

DATED on March 15, 2019.

 

Attorney: KEITH ALLEN GRAHAM PAT FRANK
Attorney For: Hillsborough County Aviation As Clerk of the Court
Authority

 

 

Address: 976 LAKE BALDWIN LN STE 101
ORLANDO FL 32814
ORLANDO FL. 32814 Dome, Casamardty

Dana Caranante, Deputy Clerk

Florida Bar No: 705314 Prepared By: Lori Guidoboni, Deputy Clerk
P.O. Box 3360 800 E Twiggs St
Tampa, FL 33601 Room 101
Tampa FL 33602

(813)276-8100

! Except when suit is brought pursuant to section 768.28, Florida Statutes, if the State of Florida, one of its
agencies, or one of its officials or employees sued in his or her official capacity is a defendant, the time to be
inserted as to it is 40 days. When suit is brought pursuant to section 768.28, Florida Statutes, the time to be
inserted is 30 days.

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If you are a person with a disability who needs any accommodation in order to
participate in this proceeding, you are entitled, at no cost to you, to the provision of
certain assistance. Please contact the ADA Coordinator, Hillsborough County
Courthouse, 800 E. Twiggs St., Room 604, Tampa, Florida 33602, (813) 272-7040, at
least 7 days before your scheduled court appearance, or immediately upon receiving
this notification if the time before the scheduled appearance is less than 7 days; if
you are hearing or voice impaired, call 711.

Florida Rules of Civil Procedure Form 1.902(a), Summons (06/10)

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IMPORTANT

A lawsuit has been filed against you. You have 20 calendar days after this summons is served on you to file a
written response to the attached complaint with the clerk of this court. A phone call will not protect you. Your
written response, including the case number given above and the names of the parties, must be filed if you want
the court to hear your side of the case. If you do not file your response on time, you may lose the case, and your
wages, money, and property may thereafter be taken without further warning from the court. There are other legal
requirements. You may want to call an attorney right away. If you do not know an attorney, you may call an

attorney referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written response to the court you
must also mail or take a copy of your written response to the “Plaintiff/Plaintiffs Attorney” named in the

documents.
IMPORTANTE

Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta notificacion, para
contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una llamada telefonica no lo protegera.
Si usted desea que el tribunal considere su defensa, debe presentar su respuesta por escrito, incluyendo el numero
del caso y los nombres de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso
y podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente. Si no conoce a

un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en la guia telefonica.
Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el tribunal,
debera usted enviar por correo o entregar una copia de su respuesta a la persona denominada abajo como
“Plaintiff/Plaintiff's Attorney” (Demandante o Abogado del Demandante).

IMPORTANT

Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir de la date de
l’assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de ce tribunal. Un
simple coup de telephone est insuffisant pour vous proteger. Vous etes obliges de deposer votre reponse ecrite,
avec mention du numero de dossier ci-dessus et du nom des parties nommees ici, si vous souhaitez que le tribunal
entende votre cause. Si vous ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la
cause ainsi que votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis ulterieur
du tribunal. II y a d’autres obligations juridiques et vous pouvez requerir les services immediats d’un avocat. Si
vous ne connaissez pas d’avocat, vous pourriez telephoner a un service de reference d’avocats ou a un bureau

d’ assistance juridique (figurant a l’annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en meme temps que cette

formalite, faire parvenir ou expedier une copie de votre reponse ecrite au “Plaintiff/Plaintiffs Attorney”

(Plaignant ou a son avocat) nomme ci-dessous.

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EXHIBIT G
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IN THE CIRCUIT COURT OF THE
THIRTEENTH JUDICIAL CIRCUIT,
IN.AND FOR HILLSBOROUGH
COUNTY, FLORIDA

HILLSBOROUGH COUNTY

AVIATION AUTHORITY, a Florida

independent special district, CASE NO. 2019-CA-002677
DIV..C

Plaintiff,
Vv
TURO INC., a Delaware corporation, and
multiple: unknown JANE and JOHN
DOE,

Defendants, _.

PLAINTIFF, THE HILLSBOROUGH COUNTY AVIATION AUTHORITY’S
VERIFIED MOTION FOR TEMPORARY INJUNCTION

 

 

 

Plaintiff, the HILLSBOROUGH COUNTY AVIATION AUTHORITY (the
"Aviation Authority"), through its. undersigned attorneys, pursuant to Rule 1.610 of the
Florida Rules of Civil Procedure, moves for entry of a temporary injunction against the
Defendants, TURO INC. (“Turo”), a Delawate corporation, and multiple unknown
JANE and JOHN DOE (collectively the “Tuto Operators”).

Specifically, the Aviation Authotity seeks a temporary injunction in which the

Court (a) enjoiis Turo and/or anyone acting or purporting to act on its behalf or in

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concert with it ‘from entering the property of the Tampa International Airport to
conduct any commercial grourid transportation operations until such time as Turo
complies with the provisions of the Regulations at issue; and (b) enjoins the Turo
Operators and/or anyone acting ot purporting to act on their behalf or in concert with
them from énteting the property of the Tampa International. Airport to conduct any
commercial ground transportation activities until such time as the Turo Operators
comply with the provisions of the Regulations at issue. |
Jl. FACTUAL BASIS FOR THE TEMPORARY INJUNCTION.

1. The Aviation Authority brought a six count Verified Complaint against
Turo and the Turo Operators for injunctive relief and damages arising from Turo and
the Turo Operators’ trespasses-upon the property of the Tampa International Airport
to conduct unauthorized commercial ground transportation operations in violation of
the Aviation Authority’s. Rules and Regulations No. R340 for Tampa International
Airport (2017) (the “Rules and Regulatioris”), Aviation Authority Policy P310:
Commercial Ground Trarisportation (the “Commercial Ground Transportation
Policy”), and Aviation Authority Policy P822: Off-Airport Rental Car Companies
(the “Off:Airport Rental Car Policy”) (collectively referred to herein as the

“Regulations”), as amended from time to time.

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2. The six claims raised by the Verified Complaint are (1) Violation of the
Regulations Against Defendants; (2) Trespass Against Defendants; (3) Civil
Conspiracy Against Defendants; (4) Aiding and Abetting Trespass Against Turo; (5)
Unjust Enrichment Against Turo; and (6) Accounting Against Defendants.

3. Turo operates a wéb-based rental cat enterprise that collects car rental and
related fees from Florida car rental customers, for cars owned by Turo agents, including
the Jane ‘and John Doe Co-Defendants, which Turo rerits through Turo’s app and
website to car rental customers who are identified, solicited.and charged by Turo.

4.  Turo and the Turo Operators have conducted commercial rental car

' services at the Tathpa International Airport to passengers in contravention of the
Regulations promulgated by the Aviation Authority.

5. The factual allegations contained in this Motion are verified by the
declaration of David Scott Knight, the Assistant General Counsel of the Aviation
Authority. The Verified Complaint is also incorporated by reference into this Motion,

A. Overview of the Aviation.Authority and the Regulations.

 

6. The Aviation Authority is an, independent special district validly
existing under Chapter 2012-234, Laws of Florida, as amended (the “Act”), which

grants the Aviation Authority the exclusive jurisdiction, control, supervision and

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management over all public airports in Hillsborough County, Florida (the
*County”), including the Tampa International Airport.

7. The Aviation Authority operates the Tampa International Airport
(hereinafter: referréd to interchangeably as the “Airport” or “TPA”) in Tampa,
Hillsborough County, Florida, pursuant to authority delegated to it by the State of
Florida. }

8. Pursuant to the Act, the Aviation Authority “shall manage airport facilities
and grant airport concessions to further the development of commerce and tourism in
or affecting the Tampa Bay atea and the [s]tate.” See 2012 Fla. Laws 234.

9. Tn managing: its facilities and granting concessions for services to the
public, the Aviation Authority shall promote the development of commerce and tourism
by, among other things, “[I]imiting or prohibiting business competition which is
destructive to the ends of promoting comnierce and tourism in the state.” Jd.

10. In addition, the State granted the Aviation Authority the power, pursuant
to Section 6 of the Act, to “[a]dopt and amend rules, regulations, and policies reasonably
necessary for the implementation of this act” to “[f]ix, alter, charge, establish, and
collect rates, fees, rentals and other charges...for the services of [Aviation] Authority

facilities at reasonable and uniform rates,” and to “fix and enforce. penalties for the

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violation of the Act or.a rule, regulation, or policy adopted in accordance with the Act.”
See 2012 Fla. Laws 234.

11. The. Aviation Authority is also the Airport. sponsor, as a recipient of
financial funding for airport development from the Federal Aviation Administration,
(the “FAA”) under the Airport Improvement Program, authorized by the Airport and
Airway Improvement Act of 1982, as amended, 49 U.S.C. § 47101 (2012), et seq.

12. Asa recipient of federal funding, the Aviation Authority is obligated to
comply with its federal grant assurances and related Federal law, pursuant to 49 U.S.C.

§ 47107.

13. TPA is an international airport that is, based on passenger traffic, the 4th
busiest airport in the State, the 29th busiest airport in the United States, and the 111th
busiest airport iri the world. |

1. The Aviation Authority’s Regulations.

14. Pursuant to the authority granted by the State and to comply with its
federal grant obligations, the Aviation Authority adopted the Regulations, as set forth
herein, to provide the framework for permissible commercial rental car activities that

apply to the Deferidants’ unauthorized commercial ground transportation operations
pp & p Pp

at the Airport.

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15. The:purpose of the Aviation Authority’s regulation of commercial ground
transportation services is to ensure acceptable standards of service to the public; avoid
congestion of Airport roadways, curbsides and: parking areas; ensure approptiate
revenue is received by the Authority from those providing commercial ground
transportation services at the Airport to offset the Aviation Authority’s costs of
operating and maintaining the facility; and ensure compliance with the operating
procedures for ground transportation and other applicable Airport Rules and
Regulations. See Commercial Ground Transportation Policy, at 1.

2. The Requirements of the Regulations,

16. Given the number of individuals who use TPA’s roadways and facilities,
the Aviation Authority must strictly regulate traffic, parking and business operations on
its property to ensure public safety and convenience, to enhance efficienéy and
productivity at TPA, and to comply with its federal grant obligations.

17. For this reason, the Aviation Authority, through its Regulations, imposes
restrictions on individuals and entities that bring vehicles onto Airport property for
commercial purposes, including requiring that such individuals and entities obtain a
contract or permit, pay fees, and comply with designated traffic routes and parking

requirements, which have all been violated by the Defendants.

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18. The Aviation Authority monitors and enforces these restrictions through
its contract terms and permit requirements,

19. The Commercial Ground Transportation Policy requires. that “all

- commercial ground transportation. services regularly serving the [A]irport must show
evidence of adequate liability insutatice coverage; must operate under the terms of a
current:contract or permit with the Authority; must park, load and unload passengers
only in those areas or locations on the aitport specifically designated for stich purposes;
and must abide by all operating procedures specifically established for commercial
ground transportation and all other applicable airport rules and regulations.” See
Commercial Ground Transportation Policy, at 2-3.

20. The Aviation Authority’s Rules and Regulations prohibit a person for any
business, commercial, or revenue producing purposes, from conducting any business,
commercial enterprise or activity on Aitport property without first obtaining a written
contract, permit or other form of written authorization from the Aviation Authority,
§2.2,

21. In addition, the Off- Airport Rental Car Policy states “[a]lJ off-airport rental
car companiies deriving income from business generated at the Airport must enter into
an agreemént with the Authority to perform any portion of their business on the
Airport.” See Off-Airport Rental Car Policy, at.1.

7

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22, Congestion is a particularly serious problem.at TPA, given that tens of
thousands of vehicles traverse the Airport’s roadways and park on Airport property on
a daily basis..

23. To contfol and reduce traffic and parking congestion, the Rules and
Regulations require that “[aJll Commercial ground. transportation operators and
Transportation Network Companies, unless otherwise provided by agreement or permit
with the Authority, will only be allowed to deliver customers to the Airport and to meet
pre-reserved customers at the Airport in places designated by the Authority.” §8,1.

24, The Off-Airport Rental Car Policy further requires “[a]ll off-airport rental
car companies will transport their customers to the Airport and meet their customers at
the Airport in locations designated by the Authority.” See Off-Airport Rental Car
Policy, at 2.

25. The Aviation Authority has attempted to minimize Airport congestion by
opening a Rental Car Center away from the Airport Main Terminal with a dedicated
cutbside for off-airport rental car companies and by requiring these off-airport rental
car companies to pick-up/drop-off customers at the Rental Car Center.

26. By requiring that off-airport rental car companies conduct pick-ups and

drop-offs in areas other than the Main Terminal curbsides, the Aviation Authority

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significantly reduces congestion at the Airport Main Terminal for arriving and departing
air travelers.

27, Furthermore, commercial ground transportation fees are important to
maintain the Airport’s itfprovements and future financial viability.

28. The Airport receives no local tax dollars,

29. The Aviation Authority generates significant operating revenue from
sources such.as rental cars, parking, Commercial ground transportation and other user
fees, which constittited approximately 46% of TPA’s operating, budget in Fiscal Year
2017-2018.

30, The Commercial Ground Transportation Policy provides that “the
Aviation Authority will establish and collect fees and charges from the operators of
airport commercial ground transportation services to ensure that the Authority generates
the appropriate revenue from the provision of these services, In establishing such fees
and charges, the Authority will include the recovery of the costs of constructing the
facilities used by each ground transportation service, and the Authority’s maintenance,
operational, administrative, and enforcement costs associated with such facilities.” See
Commercial. Ground Transportation Policy, at 3.

31. The commercial ground transportation fees are also mandated by federal

law, which requires that the Aviation Authority adopt “a schedule of charges for use of

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[its] facilities and services” that renders the Airport “as self-sustaining as possible” as
a condition for federal grants. (49 U.S.C. § 47107(a)(13)(A). See also id. §
47101(a)(13) (articulating federal policy that airports be as financially self-sustaitiing
as possible)).

32. The FAA requifes that “[rJates charged for nonaeronautical use of the
airport must be based on fair market value,” which “can be determined by reference to
negotiated fees charged for similar uses of the [A]irport’. See FAA Order 5190.6B,
17.11 and 17,12. |

33, Jn Fiscal Year 2017-2018, there were eleven rental car companies
(representing eighteen rental car brands) that operated at TPA pursuant to valid
petmits/contracts and paid the applicable fees,

34. Collectively, those eleven companies paid the Aviation Authority
approximately $43,870,922 in fees to operate.at TPA in Fiscal Year 2017-2018.

35. The Aviation Authority imposes the same basic contract/permit terms and
fees on all “off-airport” rental car companies that operate at TPA.

36. Each off-airport rental car company is required to pay the Aviation
Authority a Transportation Facility Charge, Privilege Fee, and Per-Trip Fees. See Off-

Airport Rental Car Policy, at 1-2.

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37. Pursuant to the Aviation Authority Resolution No, 2014-37, all off-airport
rental car companies are required to pay the Aviation Authority a Transportation
Facility Charge in the amount of $2.00 per rental transaction day (i.e, each 24-hour
petiod), effective beginning on April 1, 2014,

38. The Privilege Fee is “‘a set percentage of the gross receipts received by the
off-airport rental car company from. Airport generated. business.” See Off-Airport
Rental Car Policy, at 1.

39. Each off-airport rental car company was required to pay Privilege Fees in
the amount of 8.5% of gross receipts from October 1, 2016 to February 13, 2018, and
9% of gross receipts beginning February 14, 2018. See Use and Permit Agreement for
Off-Airport Rental Car Concessions, Section 5.01 :

40. In addition,.an off-airport rental car operator is assessed Per-Trip Fees for
each time its vehicles enter the Airport property and pick-up one or more Airport
customers. See id, Section 2.05

41. Each off-airport rental car company will pay a Per Trip Fee. of $2.50 per
trip during the first year of an operator’s agreement, $3.50 per trip during the second
year of the agreement, and $4.50 per trip during the third year of the agreement. See id.,

Section 5.04, effective beginning on August 1, 2017.

1]

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B. Defendants’ Commercial Ground Transportation Operations at
the Airport.

42. Defendant, Turo Inc., is a Delaware corporation, with an address of 116
New Montgomery Street, Suite 700, San Francisco, California 94105, that is not
registered to do business in the State of Florida.

43, Tuto is currently and has at all material times engaged in business in
Hillsborough County, Florida, in concert with, as an agent and affiliate of multiple
unknown Jane and John Doé Co-Defendants herein, to arrange for and collect the car
rerital fees for car rerital deliveries-and pickups of its Jane and John Doe Co-Deféndant
agents’ rental cars at the Tampa International Airport.

44, As set forth in the Verified Complaint, the multiple unknown Jane and
John Doe Co-Defendants have, at all material times, conducted commercial ground
transportation operations at the Airport in violation of the Regulations.

the Scope of the

 

Defendants’ Operations Fall Withi
Regulations,

 

1.

 

45, Defendant, Tuto is a web-based off-site rental car enterprise that
advertises, schedules and charges for the delivery of rental cars owned by Turo

Operators to car rental customers at TPA, through Turo’s website or mobile application

(“app”).
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46. Turo’s website, available at https://www.turo.com, describes its business
as a competitor of “traditional” rental car companies and repeatedly uses phrases like

29 6b,

“way better than a rental car,” “skip the rental counter” and “not your typical car rental”:

RENT THE

Not your typical car rental

Byposa the rental countor ond ront botter cors fram rool pooplo

 

-47, Turo advertises available rental cars at TPA on its website and app,
provides tailored search functions for prospective renters, receives rental car requests,
processes reservations and payments, and retains a percentage of the proceeds from

each rental car transaction (usually 25%, depending on the irisurance coverage selected).

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48, While Turo does not own its Co-Defendanits’ vehicles that Turo rents to
the public, Turo nonetheless offers a full-service rental car experience comparable to
that offered by “traditional” rental.car companies.

49, Turo-tells prospective renters on its website, “[w]e’ll be here for you évery
step of the way during your trip,” and promises itisurance covetage, “24/7 roadside
assistance” and “24-hour customer support.”

50. Turo’s car renters are required to régister, reserve the rental cars, and pay
Turo on the Turo website or app.

51. In addition to screening renters, Turo offers Turo’s car owner agents a
variety of supportive services, including free professional photography for vehicles and.
@ pricing algorithm designed to maximize profits,

52, At the time the reservation is made on the Turo website or app, Turo
charges the car renter the full cost for the car rental transaction by billing the renter’s
credit card on file in the renter’s account on the Turo website or app.

53. Turo pays its Co-Defendant car owner agents their portion of the Turo car
rentals by direct deposit, initiated by Turo 30 minutes after the rental ends, or if-a rental

is for more than a week, Turo remits its Co-Defendants’ rental car payment at the end

of each week,

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54. Consistent with the comprehensive car rental services it offers, Turo
carries or enforces a number of standardized umbrella-policies that cover all Turo rental
trarisactions.,

55. Turo has detailed “Terms of Service,” a cancellation policy, an extension
and late return policy,.a minimum rental duration, a late fee schedule, a smoking policy,
a pet policy, a fuel policy, a toll-policy, a security deposit policy, a street parking policy,
a nondiscrimination policy, and community guidelines on the Turo website and app.

56 . Turo alsohas a policy govething the removal of copyrighted material from
cat listings and reserves the right to modify listings on the app and. website at its
discretion.

57. Indeed, Turo reserves the right to remove car owners or listings from the
app and website for:any reason or no reason.

58. Turo’s Co-Defendant car owner agents must comply with Turo’s many
policies or risk termination from Turo.

59. In- sum, the Tuto and its Co-Defendants’ rental car experience. is
standardized and controlled by Turo down to the small details.

60. In competing with “traditional” rental car companies, Turo claims two

distinguishing advantages: lower cost and the convenience of vehicle delivery.

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61. Turo’s homepage advertises that customers can “bypass the rental counter”
and “pick up your rental or get it delivered, wherever you need it, up to 35% less than

traditional agencies”:

Way better than a rental car

Byposs the rental counter and-book ualorgettable garg trom {riendly tocals

THE CAR YOU WANT WHERE YOU WANT IT
_ Chopse fram over 800 unique mokes and Pick up the coi or-get Hl delivered, wherever
models. from nHardoble daily drivers t6 roie you need it, Gp 10 36% fess thbir- traditional.
specialty cars, ‘ agencios,

CYS ue cl aes

62. Airport car rentals .constitute part of Turo’s business model and
advertising.

63, On Tufo’s “How Turo works” page, airport rental car delivery is one of
three options provided for Turo and its Co-Defendants’ to rent cars using Turo’s app

and website:

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Car delivery

Imagine the fooling travalars will got whon you drop off your car curbsido, ot pull up
in front of o restaurant downtown, Once you greot thom and hand over your kays,
ha CR TLR CM ames C rename t Claret ae

THERE ARE THREE OPTIONS FOR MEETING TRAVELERS:

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Belem lol RL ae RSS ee

location

Ownors dolivar to custom tocoliono Ownore dolivar to noarby airports

around town, within o sol radius

Search cars with dallvary Offer dalivary

 

64. In multiple places on its website, Turo affirmatively advertises as an
“alternative to airport car rentals” and promotes that Turo’s-agents deliver rental cars to

customers at over 300 airports, including TPA.

65, In addition to the promotional language on its website, Turo structures its
website functions and default options'to facilitate car rerital transactions at TPA.

66. For instance, Turo aggregates listings that offer TPA car rental pickups and
drop-offs under a single easily. searchable tab called “TPA — Tampa International

Airport, Tampa, FL.”

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67. When prospéctive car renters in Tampa click the search box on Turo’s
homepage to input their desired location, a dropdown menu pre-populated by Turo lists
“TPA — Tampa International Airport” as.one of the suggested locations.

68. Similarly, Turo promotes its airport delivery option to car renters on its
“Tampa” page, which lists “TPA — Tampa International Airport, Tampa, FL” as one of
the suggested search options for nearby car rental Jocations, advises renters to “[s]kip

the rental counter” and provides a “search TPA” button:

AIRPORT PICKUP AVAILABLE,

Skip the rental rere

Tampa [nternational Airport Soracota-Bradenton International Airport

ey

Une

 

69. When a prospective car renter selects the suggested search option for “TPA
— Tampa International Airport, Tampa, FL”; he or she is.directed to a long list of cars
available for rent displayed under the words “Skip the rental counter. 198 cars at TPA
— Tampa International Airport, Tampa, FL”. Many of those 198 listings expressly offer

delivery to TPA,
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70. On its website, Turo advertises “car rental alternatives near Tampa
International Airport” and provides reviéws by previous renters dating back to
December 31, 2017 déscribing their experiences engaging in rental car transactions
through Turo and the Jane and John Doe Co-Deféndants at the Airport.

71. Neither Turo nor any Co-Defendants have obtaitied a contract or permit as
required by the Aviation Authority to conduct cOmmercial rental car or any other
commercial ground transportation activities on Airport property, and accordingly both

Turo and its Co-Defendants have violated the Aviation Authority’s Regulations.

 

2. uro’s Commercial Ground Transportation Operations at the
Airport.

72, On April 28, 2017, Septémber 18, 2018 and January 9, 2019, the: Aviation
Authority sent a cease and desist letter to Turo advising that Turo was violating the
Aviation Authority’s Regulations and was therefore trespassing, a copy of which cease
and desist letters are attached hereto as Exhibit “A”.

73. Onat least eight occasions between December 3, 2018 and December 5,
2018, Defendants engaged in rental car transactions on Airport property using the Turo
website or app.

74, Of the eight occasions, three (3) involved Turo Operators delivering or

picking up rental vehicles curbside at the Airport Main Terminal; two (2) involved Turo

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Operators delivering and picking up rental vehicles to the Airport passenger in the Short
Term Parking Garage; and three (3) involved a parked rental vehicle that was picked-
up and returned to the Economy Parking Garage at the Airport, all without a permit or
contract with the Aviation Authority, in multiple violations of the Aviation Authority’s

Regulations.

 

C. Defendants' Commercial Ground Transportation Operations
Undermine the Legitimate Public Interest Purposes of the
Regulations.

75. By not obtaining a required coritract or permit from the Aviation Authority

 

and violating the Regulations, the Defendants undermine the Aviation Authority’s
objective of providing ground transportation services consistent with public safety.

76. To promote the efficient movement of passengers to and from the Airport,
the Commercial Ground Transportation Policy states that Aviation Authority will
provide a system where commercial ground transportation operators pick up and drop
off passengets at the Airport.

77. Rental car companies are prohibited from conducting commercial ground
transportation services curbside at the Main Terminal at TPA, in order to provide less
congestion for the primarily non-commercial private vehicles.

78. By funneling-commercial ground transportation activity to the Rental Car

Center, Airport Quad Lots, and elsewhere, the Aviation Authority reduces congestion

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and other adverse impacts to the limited curbside space available at the Main Terminal,
where passengers: need access to be picked up or dropped off safely by friends and
family.

79. Defendants have undermined the efficiencies of the Aviation Authority’s
traffic flow system by conducting their commercial ground transportation operations
curbside at the Main Terminal, in parking garages at the Airport, and.in other areas of
the Airport where commercial rental car activity is prohibited, thereby increasing
congestion and impairing the efficient movement of passengers, in violation of the
Aviation Authority’s Regulations.

80. The Aviation Authority also seeks to provide fair, respectful competition
among providers of ground transportation services and to comply with the Federal Grant
Assurances requiring it to operate the Airport safely and in a self-sustaining manner,
pursuant to Federal law. |

81. An objective of the Commercial Ground Transportation Policy is to avoid
“destructive competition which would impair the quality of services to the public. or
lead to uncertainty, disruption or instability of commercial ground transportation
services at the airport,” See Commercial Ground Transportation Policy, at 2.

82.  Deferidants’ failure to obtain a contract or permit and follow the Aviation

Authority’s Regulations allows Defendants to unfairly undercut the prices of authorized

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commercial ground transportation operators, allows Defendants to obtain a. non-
monetaty competitive advantage by operating at the Airport in areas. where other
Commercial ground transportation operators that must comply with the Aviation
Authority’s Regulations cannot, and hinders the Aviation Authority’s ability to be self
sustaining and conduct safe and efficient airport operations. |

83. Defendants have utilized the passenger parking garages and parking lots
on Airport property to park rental cars for their commercial purposes, which interferes
with the Aviation Authotity’s efforts to make adequate parking. available for Airport
passengers. |

84. Defendants’ continued trespasses at the Airport to- conduct unauthorized
commercial ground transportation operations on Airport property undermines the
objectives of the Aviation Authority’s Regulations, jeopardizes the Airport’s federal
funding by preventing the Aviation Authority from complying with its federal grant
obligations, and gives rise to an irreparable harm with no adequate remedy at law, which
cannot be solely remedied by money damages.

85. The injury to the Aviation Authority consists of the breakdown of its
ground transportation system, violation of its federal grant obligations, and loss. of
revenue, which outweighs any potential harm to the Defendants if they are prohibited

from entering Airport property without first.complying with the same operational, fee,

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and reporting requirements that apply to all other commercial ground transportation
operators at the Airport.

86. As a result of the Defendants’ failure to comply with the Aviation
Authority’s Regulations, the Aviation Authority lacks the information required to
quantify all of Turo and the Turo Operators’ violations of the Regulations to calculate
the resulting damages.

87. Defendants’ continued tréspasses to conduct unauthorized commercial
ground transportation operations at the Airport undermines the fair, competitive
environment required by the Regulations, avoids compliance with the safety, traffic and
parking regulations. established by the Regulations, and unfairly takes business from
authorized cornmercial ground transportation operators who are incurring costs to
comply with the governing Regulations, thereby reducing the revenues the Aviation
Authority collects and frustrating multiple other non-revenue objectives of the Aviation
Authority’s Regulations.

88. Authorized commercial ground transportation operators may avoid
servicing the Airport if the Defendants are allowed to continue trespassing at the Airport
and violating the Regulation’s operating and fee requirements to obtain these unfair

competitive advantages in violation of the Aviation Authority’s Regulations.

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Il. THE AVIATION AUTHORITY IS ENTITLED TO TEMPORARY

INJUNCTIVE RELIEF,

The Aviation Authority is entitled to temporary injunctive relief because this
motion satisfies the elements of (1) likelihood of irreparable harm; (2) no adequate
remedy at law; (3) substantial likelihood of success. on the merits (clear legal right to
relief); (4) the threatened injury outweighs any potential harm to the Defendants; and
(5) that the public interest will be served by issuance of the temporary injunction. See
Neagele Outdoor Advert. Co. v. City of Jacksonville, 659 So..2d. 1046, 1047 (Fla.
1995); Polk County v. Mitchell, 931 So. 2d 922, 926 (Fla. 2d DCA 2006); Yardley v.
Albu, 826 So. 2d 467, 470 (Fla. 5th DCA 2002); JonJuan Salon, Inc. v. Acosta, 922
So. 24 1081, 1083 (Fla. 4th DCA 2006). |

Notwithstanding the general requirements for issuance of a temporary
injunction, “this showing is relaxed when an injunction is sought by.a governmental
entity to enforce its police powers." Miami-Dade County v, Fernandez, 905 So, 2d
213, 215: (Fla. 3d DCA 2005) (emphasis added).

"The primary purpose of a temporary injunction is to preserve the status quo
while the merits of the underlying dispute. are litigated." Manatee County v, 1187
Upper James of Fla., LLC, 104 So. 3d 1118, 1121 (Fla. 2d DCA 2012) (citing Smith

v. Hous. Auth. of Daytona Beach, 3 So. 2d 880, 881 (Fla. 1941)). As set forth herein,
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the temporary injunction sought is nartowly tailored to meet the primary purpose of
preserving the status quo.

A. There isa substantial likelihood of irreparable harm if Turo

and the Turo Operators are Not Enjoined from Conducting
Commercial Ground Transportation Operations at the Airport,

The harm caused to the Aviation Authority by the Defendants’ commercial
ground transportation operations is ireparable. An injury is irreparable where the
datnage sustained includes injury that is not capable of being. quantified for the purpose
of imposing an award of mionetaty damagés. Kailin Hu v. Haitian Hu, 942 So, 2d 992,
995 (Fla. 5th DCA 2006); see also Sun Elastic Corp. v. O.B. Indus., 603 So. 2d 516,
517 0.3 (Fla. 3d DCA 1992).

Irreparable harm is presumed to be implicated where a governmental entity seeks
"an injunction in order to enforce its police power... ." Polk County, 931 So. 2d at 926
(emphasis added); see also Metro. Dade County v. O'Brien, 660 So. 2d 364, 365 (Fla.
3d DCA 1995); P.M. Realty & Invs., Inc. v. City of Tampa, 779 So. 2d 404, 406.(Fla.
2d DCA 2000); Fernandez,905 So. 2d at 215.

In Polk County, Polk County sought a temporary injunction against a business
for violating sections of the Polk County Land Development Code by posting

unauthorized and unapproved business signs. The Second District Court of Appeal
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found that the trial court erred in its finding that Polk County did not properly plead.
and prove the elements required for the issuance of a temporary injunction under Rule
1,610, The Polk County court explained:

“Where a government seeks an injunction in order to enforce

its police power, the first element is established; that is, ‘any

alternative legal remedy is ignored and irreparable harm is

presumed,”"
Polk County, 931 So, 2d at 926 (citations oniitted).

In Manatee County, the Second District Court of Appeal found that Manatee
County was entitled to temporary injunctive relief to compel compliance with an
ordinance that required a landowner to limit the hours and decibel level of live
entertaifment at a restaurant. Manatee County, 104 So. 3d at 1122. In P.M Realty &
Investments, Inc., the Second District Court of Appeal affirmed 4 temporary
injunction issued on behalf of a City that sought to compel enforcement of its
ordinances against adult nightclub operators who operated in violation of the subject
ordinances. P.M Realty & Invs., Inc., 779 So, 2d at 406. In Metropolitan Dade
County, the Third District Court of Appeal held that it was improper to deny a
temporary injunction sought by Dade County where business owners began business

operations without complying with the applicable county code because irreparable
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harm is presumed where a government seeks an injunction to enforce its police
power. Metro. Dade County, 660 So, 2d at 365.

Even without the presumption of irteparable harm accorded to governmental
entities, it is well settled law that equity will enjoin repeated or continuous trespassés.
See Welch v. Graves Bros, Co., 117 So, 2d 853, 855 (Fla. 2d DCA 1960); Overstreet
v. Lamb, 128 So. 2d 897, 900 (Fla. Ist DCA 1961), It is also well established that a
private party is entitled to seek an injunction to prevent violation of a restrictive
covenant regarding the use of réal property. Jack Eckerd Corp. v. 17070 Collins Ave.
Shopping Ctr., Ltd., 563 So. 24.103, 105 (Fla, 3d DCA 1990). In such a case, appropriate
allegations showing the violation of the restrictive covenant ate sufficient and it is not
necessary to allege, or:show, that the violation amounts to an irreparable injury. Id.

In this case, the Aviation Authority is seeking to-enforce the Regulations, which
ate being violated by Turo and the Turo Operators despite actual notice of the
violations, Irreparable harm, the first element required for a temporary injunction,
should be presumed beeause the Aviation Authority is a governmental entity that has

been forced to file this action to enforce the Regulations and prevent the trespass. by

the Defendants on Airport property. Furthermore, the Aviation Authority has satisfied

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the irreparable harm prong by showing ongoing trespasses and violations of the
Regulations.

As a result of Defendants’ failures to comply with the requirements under the
Regulations, the Aviation Authority lacks the information required to quantify all of
the Defendants’ violations of the Regulations to calculate the resulting damages. As
such, the amounts of monetary damages are uncertain because the Aviation Authority
is unable to determine the amount of Transportation Facility Chatges, Privilege Fées,
and Per Trip Fees to'which the Aviation Authority is entitled under the provisions of
the Regulations and applicable Policies. The harm to the Aviation Authority is also
irreparable becausé the non-monetary damages listed below aré incapable of being
quantified.

B. Theres No Adequate Remedy at Law.

The non-monetary damages to the Aviation Authority include, inter alia,
reduced passenger safety due to increased congestion and traffic, réduced parking
due to unauthorized rental car parking, inefficient traffic flow at the Airport,
increased wear and tear on Airport facilities, unfair competition with the other
rental car companies due to Defendants’ failure to follow the same rules that limit
the other rental car companies’ ability to deliver and park rental cars at TPA, and

lack of fair and respectful competition among the providers: of commercial ground

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transportation operations at the Airport: The Defendants’ actions undermine these
objectives which cannot be remedied by monetary damages.

C. The Aviation Authority is Substantially Likely to Succeed on the
Merits and Has a Clear Legal Right to Enforce the Regulations.

 

The Aviation Authority is empowered to enforce the Regulations in order to
ensure the objective to promote high quality and reasonably priced commercial ground.
transportation services consistent with public safety and convenience, to. ensure the
efficient movement of passengers to and from the Airport, to foster respectful
competition among providers of ground transportation services, and to develop
revenues for support of the Airport,

Where "one opens a business aware of the violations to the ordinances and
continues to operate that business in violation, the government has a clear legal right
to relief," Manatee County, 104 So, 3d at.1121 (emphasis added) (citing P.M. Realty
& Invs., Inc. v. City of Tampa, 779 So. 2d 404, 406 (Fla. 2d DCA 2000); Ware v;
Polk County, 918 So. 2d 977, 980 (Fla. 2d DCA 2005)), In Fernandez, the court
found that Miami-Dade County demonstrated a "substantial likelihood of success on
the merits" of the case where the defendants admitted that they were operating a
commercial enterprise in violation of the county code. Fernandez, 905 So, 2d at
216.

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An airport authority seeking to enforce its rules and réegulatioris is entitled to
temporary injunctive relief as a governmental entity. Sze, eg., Harrell's. Candy
Kitchen, Inc. v. Sarasota-Manatee Airport Auth. 111 So. 2d 439 (Fla. 1959). In
Harrell's Candy, the Satasota-Manatee Airport Authority, a governmental entity
created by a special act of the Florida Legislature, sought to enjoin the erection ofa
pyramid or superstructure atop a building off airport property near a runway. Jd. at
440. The trial court. entered a temporary injunction, which the defendant property
owners sought to dissolve on grounds that the airport zoning regulations at issue
were unconstitutional. Jd. at 441. The trial court declined to dissolve the temporary
injunction, Id. The Florida Supreme Court affirmed the trial court's denial of thé
‘motion to dissolve the temporary injunction and found that. the Savasota-Manatee
Airport Authority had the power to enforce the zoning regulations at-issue. Id.

In this case, the Aviation Authority, created by a special act of ‘the Florida
Legislature, is tasked with the responsibility of operating the Airport. Pursuant to this
task, the Aviation Authority promulgates and enforces rules.and regulations related to
the operation of the Airport. Turo, through its agents, the Turo Operators, directed
Airport passengers who used the Turo website or app to engage in rental car
transactions on Airport property with the Turo Operators notwithstanding Turo's

actual knowledge that such unauthofizéd commercial ground ‘transportation

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operations were in violation of the Aviation Authority’s Regulatioris. Despite having
actual knowledge of the requirements of the Regulations, Turo and the Turo
Operators have continued to conduct their unauthorized rental car business at the
Airport and to hold themselves out to the public as providing commercial rental car
services at the Aitport on the Turo website and app in flagrant disregard of the
Regulations. Defendants’ continued commercial ground transportation operations. in
violation of the Regulations gives the Aviation Authority a clear legal right to the
issuance of the teriporary injunction sought here.

D. The Balance of Hardships Favors Issuance of the Temporary

Injunction,

An itijunction that merely seeks compliance with binding laws cannot be found
to unduly harm the enjoined party. Polk County, 931 So. 2d at 926, Defendarits have
no right to conduct their car rental business at the Airport for commercial gai in
violation of the Aviation Authority’s Regulations, and to hold themselves out to the
public as providing commercial rental car services at the Airport until they comply
with the requirements of the Regulations, As such, there is no harm to Turo and the
multiple unknown Jane and John Doe Co-Defendants from the issuance of the

temporary injunction which seeks a. court order to enforce the Regulations.

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FE. The Public Interest is Served by Issuance of the
Temporary Injunetion.

The grant of a temporary injunction to enforce a governmental entity's
permit requirements serves the public interest because "the public has an
ifterest in seeing that a county's ordinances and permit requirements are
observed." Ware, 918 So. 2d at 980 (citations omitted); see also Fernandez, 905 So.
2d at 216 ("[T]he counity and its citizeris have aclear public interest in conipliance with
the county's-ordinancés and the city zoning plan.").

Here, the public has an interest in the Aviation Authority fulfilling its mission
to provide safe, secure, customer-friendly, affordable services and facilities at the
Airport. Turo and the Turo Operators undermine this mission, in a matter that
disserves the public interest.

IU. THE BOND REQUIREMENT, IF ANY, SHOULD BE MINIMAL.

Rule 1,610(b) of the Florida Rules of Civil Procedure provides the court with
discretion to dispense with the bond requirement where an action is issued on the
pleading of a municipality or the state or-any political subdivision thereof. The Aviation
Authority is such an entity.

In this case, the bond amount, if any, should be minimal because Turo and the
Turo Operators have no legal right to conduct theit commercial ground transportation

operations at the Airport without first complying with the Regulations. As such, any

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alleged damages resulting from the issuance of the temporaty injunction, if later
dissolved, ate minimal.
IV. CONCLUSION. '

Wherefore, for the foregoing reasons, the Hillsborough County Aviation
Authority respectfully requests that the Court enter a temporary injunction (a)
enjoining Defendants and/or anyone acting or purpotting to act on their behalf or in
concert with them from entering upon Airport property to conduct unauthorized
commercial ground transportation operations until such time as Defendants comply
with the provisions of the Regulations, and (b) enjoining Turo from offering,
contracting with or charging anyone to-rent any car for delivery or pick-up at TPA on
the Turo app or website until such time as Defendants comply with the provisions of

the Regulations.

Dated this 25th day of March, 2019.

/s/ Keith A. Graham
Keith A. Graham
Florida Bar No. 0705314
Marchena and Grahatn, P.A.

. 976 Lake Baldwin Lane, Suite 101
Orlando, Florida 32814
Telephone No.: (407) 658-8566
Facsimile No.: (407) 281-8564
Attorney for Hillsborough County
Aviation Authority

33

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VERIFICATION
The undersigned, David Scott Knight, being over 18 years only and of sound
mind, baséd on his personal knowledge obtained as the Aviation Authority’s Assistant

General Counsel, verifies that the preceding allegations aré true and accurate.

 

 

_~By;/David Scott Knight |
Title: Assistant General Counsel —
Hillsborough County Aviation Authority

STATE OF FLORIDA |
COUNTY OF HILLSBOROUGH

abe foregoing instrament was acknowledged before me this. Ags’ May of
, 2019 by |} [asd Sree My, a8 pefot Gefen _ for Hillsborough

County Aviation Authority, whio is néfeonall known-té-mie or who has produced —

as identification.
Cheese ssabrnk Prrul

Printed Naffe:  J¢ ACg veltne Sra,
Notary Public
My Commission Expires: / /

 

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoitig has been filed using the Florida E-
Portal and a true and correct copy of the foregoing has been furnished by U.S. Mail,

postage préepaid, this 25th day of Match 2019 to:

 

 

California Registered Agent: Delaware Registered Agent:
Turo Inc. Tuto Ine,

Registered Agent and Chief Legal Officer c/o Incorporating Services, Ltd.
Michelle Fang 3500 S, Dupont Hwy:

116 New Montgomery Street, Suite 700 Dover,-DE 19901

San Francisco, CA 94105

/s/ Keith A.. Graham.

Keith A, Graham

Florida Bar No. 0705314
Marchena and Graham, P.A,

976 Lake Baldwin Lane, Suite 101
Orlando, Florida 32814

Telephone No.: (407) 658-8566
Facsimile No.: (407) 281-8564
Attorney for Hillsborough County
Aviation Authority

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EXHIBIT A

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Peter 0. Knight Airport

Plant City Aifport
Tampa Executive Aliport

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Hillsborough County
Aviation Authotlly Mr. Andre Haddad
P.O. Box 22287, = Chief Executive Officer
Tampa, Florida 33622 Turo, Inc.
phone’ 813-870-8700 == & 7 Mission Street

fax B13-875-6670 manent _
tampaAltport.com- San Francisco, CA 94105 /

Dear Mr. Haddad:

It has been observed by staff of the Hillsborough County Aviation Authority: {Authority},
as well as other third parties, that Turo, Iné. (Turd) is operating at Tampa International
Airport (Airport). Furthermore, a search of Turo’s website (www.turo,com) shows that
Turo makes specific reference to delivering rental vehicles to customers at the Airport

curbsides (see attached screen shot),

The Authority has specific requirements for commercial vehicle operations: Currently,
Turo does not have dny permits or agreements with the Authority: allowing for
commercial vehicle operations at the Airport. All commercial vehicle operations by
Turo or Turo fepresentatives/drivers must’ comply with. the Authority's

requirements.

This letter serves as official notice that: Turo and Turo representatives/drivers must
immediately cease and desist. operations.at the Airport until such. time as Turo
reaches an.agreement or acquires a permit.from the Authority allowing commercial
vehicle operations by Turo and Turo representatives/drivers. This also Includes
immediately removing.alt references regarding operations at the Airport from Turo’s

website,
Authority staff is available ta meet with Turo and.discuss the specific requirements
needed to operate at the Alrport. Inthe interim, attached is a copy of the Airport's

Ground Transportation Opérating Procedures (GTOPS) Manual which outlines the
policies and procedures for commercial ground transportation operations at the

Airport.

Joseph W. Lopano, Chief Executive Officer | Robert |, Watkins, Chaltman| Gary W. Harrod;-Vice Chairman | Commissioner Vicor D. Crist, Secretary
Brig. General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Assistant Secretary / Assistant Treasurer

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Case 8:19-cv-00774-MSS-SPF Document1 Filed 03/31/19 Page 111 of 122 PagelD 111

Keegawee toes UTIL ; : .
e ETE‘ have any questions, please call me at (813) 554-1447,

Sifcerely,

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OOD Ta
CZ

 

Laurie: Noyes’
Vice-President of Airport Concessions

cc: Karl Martin, Senior Manager, Parking and Ground Transportation
Chief Paul Siréci, Tampa international Airport Police. Department
David Scott Knight, Assistant General Counsel

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Plant City Aiporl

Tampa Executive Alport

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htips://turo.com/search?location=Tampa%20International%20A irport%20(TPA y%2C0%204.,, 5/1/2017

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September 18, 2018

Hillsborough County
Aviation Authority
P.O, Box 22287
Tampa, Florida 33622 Ms, Michelle Fang
‘phone 813-870-8700 ea ae nee
fax 813-875-6670 General Counsel
Turo, Inc,

TampaAitport.com can
667 Mission Street

4" Floor
San Francisco, CA 94105

Dedr Ms. Fang:
‘On April 28, 2017, the Hillsborough County Aviation Authorlty (Authority) issued Turo, Inc: (Turo)
official:notice (see attached) that Turo and Turo representatives/drivers riust.immediately cedse
and desist operations at Taripa International Airport (Airport) until such time as Tuto reaches an
agreement or acquires a:permit from the Authority allowing commercial vehicle operations by Turo

-and Turo representatives/drivers,

Despite several meetings last year and a recent procurement effort over the last several'months,
Inégotiations between the Authority and Turo have failed to result in an operating:agreement with
Turo at the Airport. Additionally, Turo has not received a permit from the Authority for commercial

‘vehicle. operations.

This letter serves as a second.official notice that Turo and Turo representatives/drivers must
‘immediatély cease and desist operations at the Airport. This includes immediately removing. all
references regarding thé Airport and/or operations at the Airpart from all of Turo’s electronic

platforms and websites.

The Authority has-specific requirements for commercial vehicle operations at the Airport, including
the requirement to have a:current operating agreement or permit. As of the date of this letter,
should Authority staff observe Turo and/or Turo representatives/drivers illegally operating
anywhere:on Altport property, the Authority will take all available and necéssary’steps to enforce its
Policies, Standard Procedures, Rules and Regulations, and Operating Directives relating to
commercial vehicle operations and concessions at the Airport, including issuance of trespassing

Joseph W. Lopano, Chief Executive Offices | Robert |. Watkins, Chaitimas | Gary WY, Hanad, Yice Chaunian ¢ Commissione: Vicine @, Cast, Secretary
Buc, General Chey Diehl, Treasurer | Mayor Bobs Buckhorn, Agsistant Secretary ? Assyttant Treaster

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Page Two
September 18, 2018

om aan warnings-and citations, The Authority-also reserves the right to exercise all remedies available to it

at law or in equity.

Authority staff Is available-to meet should Turo wish to resume discussions regarding operating at

the. Airport.

if you have any questions, please call me at (813) 801-6055,

 

2? {vid Scott Knight
Assistant General Counsel
eG: Michael Stephens, General Counsel

John Tiliatos, Executive Vice President, Operations and Customer Service
Laurie Noyes, Vice President, Airport Concessions
Charlie Vazquez, Chief, Tampa International Alrport Police Department
tloyd Tillmann, Director of Operations
Gina Evans, Director of Governmental Relations, Communications
Joel Feldman, C.M,, Senior Manager, Airport Concessions
Karl Martin, Senior Manager, Parking and Ground Transportation

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Peter 0. Knight Airport
i Plat Clty Alrpart
Tampa Executive Airport

came Mini == January 9,.2019

Hillsborough County Andre Haddad

Aviation Authorit : a . .
P.O. Box 22287 Chief Executive Officer

Tampa, Florida 33622 Turo Inc, —
phone/ 813-870-8700 © 116 New Montgomery Streat, Suite 700
fax/ 813-875-6670 San Francisco, CA:94105
TampadAlrport.coin
Dear Mr; Haddad,

The Hillgbordugh County Aviation Authority (“Authority”) has recelved reports:and determined that.
-your company, Turo Inc. (“Tura”), has been conducting business operations through ‘its app based.
platform and agents at Tampa International Airport (“Airport”), In violation of Policy P310,.
Commercial Ground Transportation, which requires a use'and permit agreement to perform such;
business at Tatnpa International Airport. As you‘have been previously advised on multiple
occasions, both: verbally and in writing, Including two previous-cease and desist orders from.the
Authority, similar to all other ground transportation operators:at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first entering into a use and permit:
agreement with:the Authority, Including. providing vehicles.for compensation. Should operatloris
continue at the Alrport without.proper authorization, the Authority will pursue any:and all remedies

available to it at law and in equity.

Pursuant to this letter, Turo and the owner of the. vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority's Concessions Department:at
(813) 554-1418,

The subject event arid vehicle detalls are as follows:

Date & Time: December 4, 2018 at 5{00.p.m.
Location: Short Term Parking — roof level
Vehicle Make & Model: Ford Mustang. 2018
Vehicle License Plate & State: {FL} HCTN99

Name of vehicle operator/Turo agent: Automix (Derek Norman Jettmar}

 

Jeh Tiliacos ;
Executive Vice President of Operations and Customer Service

cc: —- Michelle Fang, Chief Legal:Officer, Turo Inc;
Michael Stephens, General Counsel

Joseph W, Lopano, Chief Executive Officer { Robert |. Watkins, Chairman | Gary W, Hatred, Vice Chairman
Commissioner Lesley “Les” Miller, Jr. Secretary | Brig. General Chip Diehl, Treasurer | Mayor Bab Buckhorn, Asst, Secretary / Asst. Treasurer

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Péter O, Knight Aitport
Plant City Airport.
Tampa Executive Alrport

eT January 9, 2019

voce, Andre Hadad
P.O, 80x22287 Chief Executive Officer
Tainpa, Floilda 33622 «= Turo lnc. — .
phones 813-870-8700 116 New. Montgomery Street, Sulte 700.
fax! 813:875-6670 — Sani.Francisco, CA 94105
TampaAlmport.com
Dear Mr. Haddad,

The. Hillsborough County Aviation Authority (“Authority”) has recélved reports and determined that
your company, Turo Inc.:(“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to'perform such
business at Tampa International Airport. As you have.been previously advised ori multiple
‘occasions,-both verbally and in writing, Including two previous cease and desist orders from the
Authority, similat to all other ground transportation operators at the Airport, Turo and its agents are
not-authorized to conduct business on Airport property without first entering into a use and permit
agreement with the Authority, Including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies.
available to-it at law.and ii: equity.

Pursuant to this letter, Turo and ‘the owner of the vehicle set-out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit-.agreement; please contact the Authority's Concessions Department at
(B13) 554-1418,

The subject event and'vehicle detalls are as follows:

Date & Time: December 5,. 2018 at 1:00 p.m.

Location: Economy Parking Garage; Level 4, Orange; Aisle 11
Vehicle Make & Model: Mercedes Benz.Metris van 2016

Vehicle-License Plate & State; (FL) JYNE3O

Name of vehicle operator/Turo agent: Dane Phillip tawrence (aka Gourmet Everything)

 

Jo THlacas
Executive Vice President of Operations and Customer service

cc: Michelle Fang, Chief Legal Officer, Turo inc.
Michael Stephens, General Counsel

Joseph W, Lopano, Chief Executive Oflicey | Robert |. Watkins, Chalrman { Gary W, Harrod, Vice Chaiiman
Commissioner Lesley “Les* Miller, Jr,, Secretary | Brig. General Clip Diehl, Treasurer | Mayor Bob Buckhorn, Asst, Secretary? Asst, Treasurer

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Recs

Hillsborough County
Aviation Authorly.
‘P.O, Box: 22287
Tampa, Florida 33622
phone/ 813-870-8700

TampaAliporl.com

 

fax! 813-875-6670.

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Pater O. Knight Airport
Plant City Aiport
Tampa Executive Alrport

January 9, 2019

Andre Haddad

Chief Executive Officer

Tura Iné,

116 New Montgomery Street, Suite.700 '
San Francisco, CA 94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”)-has received reports and determined that
your cofipany, Turo Ine; (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa Interiational. Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation; which requires a use atid permit agréémient to perform such
business at Tampa International Airport. As you-have been previously advised on multiple
occasions, both verbally and in writing, including two-previous cease and desist orders:from the
Authority, similar to all other ground transportation operators‘at the Airport, Turo and Its agents are
not authorized to conduct business.on Airport property without first entering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations:
continue at the Airport without proper authorization, the Authority will.pursue any and all remedies

available to It at law and in equity;

Pursuant to this letter, Turo and the owner of the vehicle set-out below must. immediately cease and
desist all business Gpérations at the Airport.

To obtain a usé and permit agreement, please contact the Authority's Concessions Department at
(813) 554-1418,

The subject event and vehicle detalls are as follows:
Date & Time: December 3, 2028 at.3:00.p.m.
Location: Economy Parking.Garage; Level 4, Oringe, Alsle 11
Vehicle Make & Model: Hyundal Elantra 2018 .
Vehicle License Plate & State: (FL) KQQP47

Name of vehicle operator/Turo.agent: Byron Anthony Johnson

   

   

Ham {ih
John Tillacos
Executive Vicé President.of Operations and Gustormer Service
cc: Michelle Fang, Chief Legal Officer, Tura Inc.

Michael Stéphens, General Counsel.

Joseph W. Lopano, Chie! Executive Officer | Robert !, Watkins, Cliai¢man | Gary W. Harrod, Vice Chaliman
Commissioner Lesley “Les” Miller, Jr,, Secretary | Brig. Genera} Chip Diehl, Treasurer.| Mayor Bob Buckhorn, Asst, Secretary / Asst, Treasurer

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Hillsborough County
‘Aviation Authority
P.O, BOx.22287
Tampa, Flofida 33622
photie/ 813-870-8700
fax/ 813-875-6670
TampaAirport.cam

 

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Peter 0. Knight Airport
Plant City Airpart

Tampa Executive Alrport

January 9, 2019

Andre Haddad

Chief Executive Officer

Turo ‘inc.

116 New Montgomery Street, Suite 700
San Francisco, CA 94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined that
‘your company, Turo tne, (“Turo”), has been conducting business operations through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International Airport. As you have been previously advised on multiple
occasions, both verbally and in writing, including two previous céasé aid desist orders from the
Authority, simila¢ to-all other ground transportation operators at the Airport, Turo and its agents are
not authorized to conduct business on Airport property without first.enitéering into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to.it at law-and In equity.

Pursuant to this letter, Turo and the owner of the vehicle set out below must immediately: cease and
desist all business operations.at the Airport.

To obtain a use.and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418,

The subject evant and vehicle details are as follows:

Date & Time: Decernber 5, 2018 at 3:00/p.m.

Location: Economy Parking Garage; Level 4, Orange, Aisle 11
Vehicle Make & Model: Ford Fusion 2016

Vehicle Licanse Plate & State: (FL) HSVS63

Name of vehicle operator/Turo agent: Eriselda Marky

 

Johd Tillacos
Executive Vice President of Operations and Customer Service

cc! Michelle Fang, Chlef Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Josepli W. Lopano, Chief Executive Officer | Rober! 1. Watkins, Chairman | Gary W. Harrod, Vice Chairman ;
Commisstoner tesley “Les” Milles, Jr., Secretary | Brig, General Chip Diehl, Treasurer | Mayor Bob Buckhorn, Asst, Secretary / Asst. Treasurer

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Hillsborough County
Aviation Authorlty.

P.O, Box 22287°
Tampa, Florida 33622

phone/ 813-870- 8700
fax! 813-875-6670
TampaAlrport.com

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NaF Airport

Peter 0. Kilght Alrpart
Plant Clty Aiport —
Tampa Executlve Alrport

January 9, 2019

Andre Haddad

Chief Executive Officer

Turo (ne.

116 New Montgomery Street, Suite 700
San Francisco, CA94105

Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has recelyed reports and detérmiined that
your company, Turo inc. {“Turo”),.has been conducting business operations ‘through its app based
platform and agents at Tampa International Airport (“Airport”), in violation of Policy P310,
Commercial Ground Transportation, which féquires a yse'and permit agreement to performsuch
business at Tampa Iriternational Airport, As:you have:been previously advised oni multiple
occasions, both verbally and In writing, including two previous-céase and.desist orders from the
Authority, similar to-all other grourid transportation operators at the Airport, Turo and Its agents are
not authorized to conduct.business on Airport property without-first entering into a use and permit

‘agreement with the Authority, including providing vehicles for compensation, Should operations

conitinue.at the Airport without proper-authorization, the Authority. will pursueany and.all remedies
available to It at law and in equity.

Pursuant to this letter, Turo and the owner of the vehicle set out.below.must immediately cease and
desist all business operations at the Airport.

To obtain.a use and permit agreement; please contact the Authority's Concessions Department at
(813) 554-1418,

The:subject event and vehicle datalls-are.as follows:

Date & Time: December 4, 2018 at 1:00.p.m.

Location: Economy Parking Garage; Level 2, Orange, Aisle.12
Vehicle Make & Model: Ford Mustang 2016

Vehicle License Plate-& State: (FL)ITMV83

Name of vehicle operator/Turo agent: Chad Darius Meclelian

   

 

John iliicos .
Executive Vice-President of Operations and Customer Service

cc! Michelle Fang, Chief Legal Officer, Turo Inc,
Michael Stephens, General Counsel

Joseph W. Lopand, Chlef Exécutive Officer | Robert {. Watkins, Chairman | Gary W. Harrod, Vice Chaitman
Commissioner Lesley “Les” Miller, Jr,, Secretary | Brig. General Chip Diehl, Treasurér | Mayor Bob Buckhorn, Asst. Secretary / Asst. Treasurer

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i Pater O: Knight Airport
Plant Clly Aifport
Tampa Executive Airport

SSeS TTL January 9, 2019

Hillsborough Courity Andre Haddad

Aviation Authorily
P.O, Box 22287 Chief Executive Officer:

Tafnpa, Florida 33622 Turo Ine. ; 7 ;
phonie/:813:870-8700 116 New Montgomery Street, Suite 700 ~
fax/ 813-875-6670 San Francisco, CA 94105
TampaAlrpart.com
Dear Mr. Haddad,

The Hillsborough County Aviation Authority (“Authority”) has received reports and determined-that
your company, Turo Inc. (“Tura”), has heen conducting business operations through its app based
platform and agents at Tampa International Alrport (“Airport”), In violation of Policy P310,
Conimercial Ground Transportation, which requires a use and permit agreement to perform such
business at Tampa International-Alrport. As you:have been previously advised of multiple.
‘occasions, both verbally and in writing, including two previous cease and desist-orders from the
Authority, similar to ali other ground transportation operators at-the Airport, Turo and its agents are
not authorized to conduct businass:on Airport property without first.entering into a use and permit
agreement with the Authority, Including providing vehicles for compensation. Should operations
‘continue at the Airport without proper authorization, the Authority will pursue any and all remedies
available to it at law and (n equity.

Pursuant.to this:letter, Ture and the owner-of the vehicle set out below must immediately cease and
desist all business operations at the Airport.

To obtain a use and permit-agreement, pléase contact the Authority’s Concessions Department at
(813) 554-1418.

The subject event and vehicle details are as follows:

Date & Time: Decémber 5, 2018 at 5:00pm.

Location: Economy Parking Garage: Level 5, Gold Section, Aisle 6
Vehicle Make:& Model: Ford Mustang2017-—.

Vehicle License Plate. ‘& State: (FL) 6TXU

Name.of vehicle operdtor/Turo agent: Hunter:D. McGaughey.

 

John'Tiliacos
Executive Vice President of Operations and Custamer Service

cc: Michelle Fang, Chlef Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph W. Lopano, Chief Executive Olficer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chaliman
Commissioner Lesley “Les” Miller, Jr., Secretary | Brig. General Chi Dlehl, Treasurer | Mayor Bob Buckhorn, Asst. Secrelary / Asst. Treasurer

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Tampa Execullve Alrpart

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Paes ELL January 9,. 2019
Hillsb ,
ination autho Andre Haddad
P.O, Box 22287 Chief Executive Officer
Tampa, Florida’33622  Turo.Inc.
phonef'813-870-8700 116:New Montgomery Street, Suite 700.
fax! 813-875-6670 San Francisco, CA 94105
TampaAirport.cam
Dear Mr. Haddad,

The Hillsborough County.Aviation Authority (“Authority”) has.récélved reports and determined that
your company, Turo Iné. (“Turo”), has. been. conducting business operations through its app based
platform and agents-at Tampa Interriational Airport: (“Airport”), in-violation.of Policy P310,
Commercial Ground Transportation, which requires a use and permit agreement to‘perform such
business at Tampa (nternational Airport. As you have been previously advised on multiple
occastons, both verbally-arid in writing, Including two previous cease. and desist.orders from the
Authority, similarto all. other ground transportation operators at the Alrport, Turo and its agents are
Nat authorized to conduct business on Airport property without first-entering into a use and permit
agreement with the Authority, including providing vehiclés-for compensation. Should operations
continue at the Alrport-without proper authorization, the Authority will pursue any and all remedies

avallable to it at faw and In equity.

Purstiant to this letter, Turo and the owner of the vehicle set out below must Immediately cease and
desist all business operations at the Airport.

To obtain a use and permit agreement, please contact the Authority's Concessions Department at
(813) 554-1418.

The subject event.and-vehicle details are-as follows:

Date & Time: December 4, 2018 at:3:00 p.m.

Location: Economy: ‘Parking Garage: Level.4, Orange, Alsle 11
Vehicle Make & Model: Toyota C-HR 2018

Vehicle License Plate & State: (FL) JTCK97

Name of vehicle operator/Turo agent; Marlon Edward Soley

   

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John'Tillacos ,
Executive Vice Presiderit of Operations and Customer Service

tc: Michelle Fang, Chief Legal Officer, Turo Inc.
Michael Stephens, General Counsel

Joseph’ W. Lopano, Chief Executive Officer | Robert |. Watkins, Chairman | Gary W. Harrod, Vice Chairman
Commisstoiier Lesley “Les” Miller, 3r,, Secetary [ Brig. General Chip Dlehi, Tréasurér | Mayor Bob Buckhorn, Asst. Secretary / Asst, Treasurer

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| Peter-Q. Knight Airport
| Plant City. Alrport
e Tampa Executive Alrport

RS TE January 9, 2019

Hillsboreugh County, Andre Haddad

Aviation Authori eepe
P.O. oy 2298) Chief-Executive Officer

Tampa, Florida 33622 «© Turo Inc.
phorie/ 813-870-8700 116 New Montgomery Street, Suite 700
fax! 813-875-6670 San Francisco, CA 94105
TaripaAiiport.com, .

Dear Mr; Haddad,

The Hillsborough County Aviation Authority:(“Authority”) has received reports and determined that
your company, Turo Inc. (“Turo”), has been.conducting business operatioris through its app based
platform and agents at Tampa International Airport (“Airport”), In violation of Policy P310,
Commercial Ground Transportation; which requires a use and permit‘agreement to perform-such
business at Tampa International Airport, As:you have been: previously advised.on multiple
otcasions, both'verbally and in writing, including two previous ceasé and desist orders from the
Authority,-similar to all other ground transportation operators at the Alrport, Turo and its agents are
not authorized to conduct business on Alrport. property without first.entering Into a use and permit
agreement with the Authority, including providing vehicles for compensation. Should operations
‘continue.at the Airport: without proper authorization, the Authority will pursue-any and all remédies

‘available to it at law-and In equity.

Pursuant to this letter, Turo.and the owner of the vehicle set-out below must immediately cease and
desist all businéss operations.at-the Airport,

To obtain d use and permit agreement, please contact the Authority’s Concessions Department at
(813) 554-1418,

The subject event and vehicle details areas follows:

Date & Time: Deceinber 3, 2018 at 4:30 p.m;

Location: Curbside. Arrivals by Spirit

Vehicle Make & Model: Infiniti QX70 2017

Vehicle License Plate & State: (FL) 511VZU

Name of vehicle operator/Turo agent: Brian,Christopher Zickafoose ;

 

John Tiliacos
Executive Vice President of Operations and Customer Service

ec: Michelle Fang, Chief Legal Officer, Turo In.
Michael Stephens, General Counsel

Joseph W. Lopano, Chlel Executive Officer | Robert 1, Watkins, Chaliman | Gary W. Harrod, Vice Chaleman
Commissioner Lesfey "Les” Miller, Jr., Secretary | Brig. General Chip Dlehl, Treasurer | Mayor Bob Buckhorn, Asst. Secretary / Asst, Treasurer

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